               EXHIBIT 3




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STATE OF NORTH CAROLINA                               IN THE GENERAL COURT OF JUSTICE
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                                                     ' ')
                                                          SUPERIOR COURT DIVISION
COUNTY OF WAKE                                              Case No. 20 CVS


MARCUS HALL and wife,
ALISA HALL,

                  Plaintiffs,

V.                                                                        COMPLAINT
                                                                    (Jury Trial Demanded)
ALLURE HOMES, LLC; CHRISTOPHER PAUL
BAGGETT; CAROLINA COMFORT AIR, INC.;
and NEWCOMB AND COMPANY,

                 Defendants.                         )

         NOW COME plaintiffs Marcus Hall and wife, Alisa Hall ("Plaintiffs"), through undersigned

counsel, and complain of defendants Allure Homes, LLC, Christopher Paul Baggett, Carolina

Comfort Air, Inc., and Newcomb and Company ("Defendants"), as follows:

                                         INTRODUCTION

         1. This action arises from the defective construction of a home for the Hall family,

which construction caused mold contamination throughout the home resulting from the operation

of the HVAC systems. The Hall home was constructed by Allure Homes, LLC ("Allure"). Allure

owner Christopher Paul Baggett directly supervised construction of the Hall home. The HVAC

systems were designed and installed by Allure sub-contractor Carolina Comfort Air, Inc. ("CCA").

Newcomb and Company ("Newcomb") thereafter purported to perform bi-annual maintenance on

the HVAC systems but failed to detect and/or report the presence of mold in the HVAC systems

to Plaintiffs.

         The periodic circulation of toxic mold spares throughout the Hall home each time the

HVAC systems operated caused permanent and severe neurological damage and physical

suffering to Plaintiff Alisa Hall. (The effect of ongoing mold exposure on the three minor Hall

children remains to be determined. They are not plaintiffs in this lawsuit.) Neither the presence




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of mold growth in the HVAC systems nor mold as the cause of Plaintiff Alisa Hall's symptoms was

identified until October 2018 despite inspections by Newcomb and dozens of medical

consultations by Alisa Hall with numerous physicians. However, testing eventually revealed the

presence of mold mycotoxins in Alisa's system and elevated levels of mold spares in the air

circulating in the home.

        Substantial effort was then expended to identify the source of the mold contamination,

which was discovered to be in the HVAC systems. The Hall home required extensive, costly

repairs to correct the deficiencies, remedy the damage and render the home fit to occupy. During

approximately twenty months of assessment and remediation, Plaintiffs and their children were

displaced from the Hall home. Plaintiffs file this action to recover the cost of analysis, system

replacement, remediation and replacement of personal property, alternate living expenses, past

and future medical expenses for Plaintiff Alisa Hall, and damages for physical pain and mental

suffering for Plaintiff Alisa Hall.

                                             PARTIES

        2. Plaintiffs Marcus Hall, and wife, Aiisa Hall ("Plaintiffs" or the "Halls") are the owners

of a home at 4913 Yadkin Drive, Raleigh, North Carolina in Wake County.

        3. Defendant Allure Homes, LLC ("Allure") is a limited liability company organized and

existing under the laws of the State of North Carolina with its offices and principal place of

business located in Wake County, North Carolina.

        4. At all relevant times herein, Allure was a licensed residential general contractor

pursuant to the licensing laws of North Carolina and acted as the general contractor for the

construction of the Hall home.

        5. Allure holds itself out to the general public as a general contractor which constructs

fine custom homes.

        6. Defendant Christopher Paul Baggett ("Mr. Baggett") is a resident of Wake County,

North Carolina. At all relevant times herein, Mr. Baggett was the sole member (owner) of Allure

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and was the qualifier for the general contracting license of Allure issued by the North Carolina

Licensing Board for General Contractors. Allure thus built the Hall home under the direction of

Mr. Baggett.

       7. Defendant Carolina Comfort Air, Inc. ("CCA") is a corporation organized and

existing under the laws of the State of North Carolina with its offices and principal place of

business located in Johnston County, North Carolina. At all relevant times herein, CCA provided

services and materials related to the heating ventilation and air conditioning ("HVAC") systems

designed and installed at the Hall home.

       8. CCA at all relevant times was licensed by and provided HVAC services on the Hall

home through various employees licensed by the North Carolina State Board of Examiners of

Plumbing, Heating and Fire Sprinkler Contractors.

       9. Defendant Newcomb and Company ("Newcomb") is a corporation organized and

existing under the laws of the State of North Carolina with its offices and principal place of

business located in Wake County, North Carolina.

       10. At all relevant times herein, Newcomb provided inspection and maintenance

related to the HVAC systems installed at the Hall home. Newcomb was licensed by and employed

various individuals licensed by the North Carolina Board of Examiners of Plumbing, Heating and

Fire Sprinkler Contractors in providing these services.

                                  JURISDICTION AND VENUE

       11. This Court has jurisdiction over the subject matter and over the parties pursuant to

N.C. Gen. Stat. §§ 1-75.4, 7A-240, and 7A-243.


       12. Venue is proper in this Court pursuant to N.C. Gen. Stat. §§ 1-79 and 1-82.

                                   FACTUAL ALLEGATIONS

       13. In 2014, Allure entered into a contract with the Halls to provide general contracting

services with respect to the construction of the Hall home. The Offer to Purchase and Plan




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Specifications are attached hereto as Exhibits A and B (the "Contract") and are incorporated by

reference herein.


        14. Pursuant to the Contract, Allure undertook the construction of the home for the

Halls (the "Hall Home") over approximately the next ten months.

        15. As a subcontractor of Allure, Defendant CCA provided materials and services

related to the design and installation of the HVAC systems in the Hall Home.

        16. Construction of the Hall Home was completed in April 2015. Immediately

thereafter, Plaintiffs took possession of the property.

        17. Within two to three months thereafter, Plaintiff Alisa Hall began to experience

problematic symptoms, including fatigue, insomnia, hair loss, numbness and tingling in her

extremities, and weight gain.

        18. Over the next three years, Plaintiff Alisa Hall's symptoms worsened and began to

include cognitive dysfunction and memory loss. Despite dozens of medical consultations, no

medical provider offered a definitive diagnosis nor provided substantial lasting relief from the

symptoms.

        19. From 2016 through 2018, employees of Defendant Newcomb purportedly

performed bi-annual inspection, maintenance, and repair services on the HVAC systems in the

Hall Home.

       20. On October 3, 2018, the primary care provider for Plaintiff Alisa Hall ordered a

screening for Ochratoxin A. Ochratoxin A is a mycotoxin produced by several different fungi

including Aspergillus and Penicillium molds. These molds are commonly found growing on moist

indoor surfaces.

       21. On October 8, 2018, Plaintiff Marcus Hali used a self-administered mold testing kit

to collect air samples from each of the three levels of the Hall Home. The home-testing report for

each floor of the Hall Home came back as either "elevated" or "severe" for mold spares in the

conditioned air of the Hall Home.

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        22. On October 11, 2018, Plaintiff Aiisa Hall received the results of her Ochratoxin A

screening. The common range of positive results for Ochratoxin A in urine are 1.2-5 ng/g of

creatine. Results for Plaintiff Alisa Hall were 6.43 ng/g of creatine.

        23. Plaintiff Alisa Hall was later diagnosed with Environmentally Acquired Illness due

to suspected mold exposure.

        24. On October 28, 201 8, upon the advice of Mrs. Hall's physician, Plaintiffs and their

three minor children moved out of the Hall Home and into the home of Plaintiff Marcus Hall's

parents.


        25. In December, 2018, Plaintiff Marcus Hall and Plaintiffs' three minor children all

tested positive for Ochratoxin A at levels well above the common range for positive results. (The

minor children are not plaintiffs to this lawsuit, as the effect of mold exposure on the minor children

continues to be evaluated).

       26. The Halls then engaged mechanical engineer Frank Tyndall ("Mr. Tyndall") and

environmental engineer Robert Herrick ("Mr. Herrick").to determine the source and cause of the

high levels of mold spares and mold growth present in the Hall Home.

       27. In early 2019, Mr. Tyndall and Mr. Herrick determined that mold was growing in

the HVAC systems due to design flaws in the HVAC systems serving the Hall Home.

       28. On April 12, 2019, Plaintiffs by and through undersigned counsel notified Allure

and Mr. Baggett of the problems identified by Mr. Tyndall and Mr. Herrick. On April 24, 2019,

Plaintiffs by and through undersigned counsel notified CCA of the problems identified by Mr.

Tyndall and Mr. Herrick. On April 26, 2019, Plaintiffs by and through undersigned counsel notified

Newcomb of the problems identified by Mr. Tyndall and Mr. Herrick. All defendants were provided

an opportunity to inspect the Hall Home, including the HVAC systems, prior to remediation.

       29. From May, 2019, through June, 2020, Mr. Tyndall and Mr. Herrick oversaw

remediation of the Hall Home. The efforts at remediation are documented in a timeline attached

hereto as Exhibit C and incorporated herein by reference.

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          30. On or about July 1, 2020, Plaintiffs were informed by Mr. Herrick that the Hall Home

was clear of mold and the Plaintiffs and their three minor children moved back into the Hall Home,

after approximately two months of residing with relatives and eighteen months of a townhome

rental.


          31. On or about July 12, 2020, testing by Mr. Herrick confirmed that mold levels in the

Hall Home were at minimal levels and the home was safe to occupy.

          32. On August 19, 2020, Plaintiffs by and through undersigned counsel notified

counsel for defendants Allure, CCA, and Newcomb of the claims against each party as well as

provided an itemized compilation of damages, both personal and real property and personal

injury, incurred by Plaintiffs. The August 19, 2020 letter from counsel is attached hereto as

Exhibit D and incorporated herein by reference.

          33. As a result of her symptoms, Plaintiff Alisa Hall since 2015 has experienced over

seventy-five visits with medical providers with specialties including neurology, rheumatology,

cardiology, endocrinology, emergency medicine and functional medicine.

          34. Plaintiff Alisa Hall continues to suffer from the physical and neurological effects of

prolonged mold exposure that she experienced as a result of residing in the Hall Home.

          35. At all relevant times herein, Defendant Allure held itself out as possessing

expertise in the field of the construction of fine custom residential homes and that the Hail Home

would be designed and built in accordance with all applicable regulations, standards, and codes

and in a good and workmanlike manner.

          36. Defendant Allure knew that Plaintiffs would and did rely upon its expertise to see

that the Hall Home was designed and built in a good and workmanlike manner and in conformance

with the Contract and with all applicable regulations, standards and codes.

          37. Defendant CCA designed and installed the HVAC systems in the Hall Home.

Defendant CCA held itself out as possessing expertise in the field of design and installation of

HVAC systems. CCA knew that Plaintiffs would rely and did rely upon its expertise to see that

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the HVAC systems in the Hall Home would be designed and constructed in a good and

workmanlike manner and in accordance with the Contract and with all applicable regulations,

standards, and codes.


       38. During the construction of the Hall Home by Allure, including the active

participation of Mr. Baggett, the HVAC systems designed and installed by Defendant CCA in the

Hall Home, were defective and promoted mold grown.

       39. That mold growth was not reported by Newcomb to Plaintiffs.

       40. Defendant Newcomb held itself out as possessing expertise in the field of

inspection, maintenance and repair of HVAC systems. Defendant Newcomb knew that Plaintiffs

would rely and did rely upon its expertise to see that the HVAC systems in the Hall Home would

be inspected, maintained, and repaired if necessary, in accordance with all applicable standards

for inspection and maintenance of residential HVAC systems and that any problems, including

the presence of mold, would be reported to Plaintiffs.

       41. As a result of Allure's, Mr. Baggett's, and CCA's failures to properly design and

construct the Hall Home and provide suitable HVAC systems, Plaintiffs have incurred significant

damages, including:

               a. Costs reasonably necessary to determine the source and cause of the mold
                        problems;

               b. Costs reasonably necessary to fully and properly remediate mold problems
                        in the Hall Home;

               c. Costs associated with storage, remediation, and replacement of personal
                        property;

               d. Costs associated with securing and renting alternate accommodations
                      during the necessary remediation;

               e. Fees expended and the cost of testing to ascertain the nature and extent
                      of the deficiencies and to determine when the Hall Home was safe for
                      habitation;

               f. Paid medical expenses for Plaintiffs Marcus and Alisa Hall;

               g. Future medical expenses for Plaintiff Alisa Hall;

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                  h. Physical pain and mental suffering for Plaintiff Alisa Hall; and

                  i. Such other damages as may be shown at the trial of this matter.

        42. As a result of Defendant Newcomb's failure to properly inspect the HVAC systems

and/or to disclose to Plaintiffs the presence of mold growth within the HVAC systems and/or to

properly repair the HVAC systems, Plaintiffs' awareness of the existence of mold was delayed,

increasing the severity of the mold and the cost of remediation and delaying the diagnosis and

proper treatment of Alisa Hall's physical injuries. Plaintiffs thus suffered significant damages,

which could have otherwise been mitigated, reduced, or eliminated, including:

                  a. Costs reasonably necessary to fully and properly remediate the Hall Home;

                  b. Costs associated with storage, remediation, and replacement of personal
                         property;

                  c. Costs associated with securing or renting alternate accommodations
                         during the necessary remediation;

                  d. Fees expended and cost of testing to ascertain the nature and extent of the
                         deficiencies;

                  e. Paid medical expenses for Plaintiffs Marcus and Alisa Hall;

                  f. Future medical expenses for Plaintiff Alisa Hall;

                  g. Physical pain and mental suffering for Plaintiff Alisa Hall; and

                  h. Such other damages as may be shown at the trial of this matter.

                                      FIRST CLAIM FOR RELIEF
                                     (Breach of Contract - Allure)

        43. The allegations of the preceding paragraphs are repeated here and incorporated

by reference.

        44. At all relevant times herein, the Contract was valid and enforceable between Allure

and Plaintiffs.

        45. The Contract, among other things, required Allure to design and construct the Hall

Home in a good and workmanlike manner, without defects, and in conformity with all applicable

regulations, standards and codes in conformity with the terms of the Contract.

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          46. However, as alleged herein, the Hall Home was defectively designed and/or

constructed and did not comply with the Contract.

          47. Plaintiffs did not become aware of the defective design and/or construction until

October 2018, when Plaintiff Alisa Hall's mycotoxin results indicated high levels of mold exposure

and testing of the conditioned air circulating in the Hall Home revealed elevated levels of mold

spares.


          48. Allure's breaches caused Plaintiffs' damages by way of analysis, replacement and

remediation of the defective construction, and personal injury damages, as alleged herein and as

may be shown at trial.

          49. As a direct and proximate result of Allure's breach of contract, Plaintiffs have

incurred damages in an amount in excess of twenty-five thousand dollars ($25,000) plus costs

and expenses as allowed by law, including those damages alleged with more particularity above.

                                 SECOND CLAIM FOR RELIEF
                            (Breach of Implied Warranties - Allure)

          50. The allegations of the preceding paragraphs are repeated here and .incorporated

by reference.

          51. Allure as general contractor is deemed to have given to Plaintiff an implied

warranty of habitability that the Hall Home would be designed and constructed in a good and

workmanlike manner, in accordance with industry standards and all applicable regulations,

standards and codes, including but not limited to the North Carolina Mechanical Code, resulting

in a suitable and safe home for habitation, and free from dangerous defects.

       52. However, as alleged herein, the Hall Home was designed and/or defectively

constructed. As a result, the Hall Home was rendered uninhabitable due to mold contamination.

       53. If Allure had exercised reasonable care, it would have designed and constructed

the Hall Home in accordance with the Contract and with all applicable regulations, standards, and

codes, including but not limited to, the North Carolina Mechanical Code.




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         54. However, Allure did not comply with the Contract, did not exercise reasonable

care, and failed to perform its work in a good, workmanlike manner and failed to discover and/or

disclose latent defects in the design and/or construction of the Hall Home.

         55. In addition, Allure knew or should have known that the Hall Home was not designed

and/or constructed in accordance with the applicable regulations, standards, and codes, thus

resulting in the defects and damages alleged herein.

         56. Allure's failures constitute a breach of its warranties as alleged herein. The defects

in the design and/or construction were latent and could not have been reasonably discovered by

Plaintiffs.

         57. As a result of Allure's breach of implied warranties as alleged herein, Plaintiffs have

incurred damages in an amount in excess of twenty-five thousand dollars ($25,000) plus costs

and expenses as allowed by law, including those damages alleged with more particularity above.

All such damages were reasonably foreseeable.

                                    THIRD CLAIM FOR RELIEF
                                       (Negligence - Allure)
                                        (In the Alternative)

         58. The allegations of the preceding paragraphs are repeated here and incorporated

by reference.

        59. Allure had a duty to exercise reasonable care in the design and construction of the

Hall Home and to design and construct the Hall Home in a good and workmanlike manner and in

accordance with all applicable regulations, standards and codes.

        60. A violation of the North Carolina Mechanical Code constitutes negligence per se.

        61. If Allure had exercised reasonable care, it would have ensured that the Hall Home

was designed and constructed in a good and workmanlike manner and in accordance with all

applicable regulations, standards, and codes, including but not limited to, the North Carolina

Mechanical Code §§ 501.3 and 505.2.




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         62. However, Allure did not exercise reasonable care and failed to perform their work

in a good and workmanlike manner and failed to discover latent defects in the design and/or

construction of the Hall Home.

         63. In addition, Allure knew or should have known that the Hall Home was not designed

and/or constructed in accordance with the applicable regulations, standards, and codes, thus

resulting in defects and damages alleged herein.

         64. Allure's failures constitute a breach of its duties alleged herein. The defects in the

design and/or construction were latent and could not have been reasonably discovered by

Plaintiffs.

         65. Allure's negligence as alleged herein caused injury to the personal property of

Plaintiffs, beyond that which was the subject of the contract, and also caused personal injury to

Plaintiffs.

         66. As a direct and proximate result of Allure's negligence/negligence per se, Plaintiffs

have incurred damages in an amount in excess of twenty-five thousand dollars ($25,000.00) plus

costs and expenses as allowed by law, including those damages alleged with more particularity

above. All such damages were reasonably foreseeable.

                                    FOURTH CLAIM FOR RELIEF
                            (Negligence - Christopher Paul Baggett)

        67. The allegations of the preceding paragraphs are repeated here and incorporated

by reference.

        68. Upon information and belief, Mr. Baggett was the qualifier for Allure with the North

Carolina Licensing Board for General Contractors. His licensure by the North Carolina Licensing

Board for General Contractors permitted Allure to hold itself out to the public and to perform

services as a general contractor.


        69. At all relevant times, Mr. Baggett personally and actively supen/ised the day-to-

day construction of the Hall Home.



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        70. Mr. Baggett owed the Plaintiffs a duty of reasonable care in the design and

construction of the Hall Home.

        71. Mr. Baggett breached that duty when he failed to properly supervise the design

and/or construction of the Hall Home.

        72. Mr. Baggett's specific acts of negligence include, but are not limited to, the

following:

                a. Mr. Baggett failed to supervise, inspect, and direct construction
                      competently to ensure that it was performed in accordance with the proper
                      design and construction provisions of applicable regulations, standards,
                      and codes and in a good and workmanlike manner;

                b. Mr. Baggett failed to supervise CCA to determine whether it balanced the
                       HVAC systems in the Hall Home and did so properly;


                c. Mr. Baggett failed to ensure that the HVAC systems were in compliance
                       with the North Carolina Mechanical Code, including but not limited to §§
                       501.3 and 505.2;

               d. Mr. Baggett failed to supervise and ensure that all design work and
                      construction work performed by subcontractors would not be defective; and

               e. Mr. Baggett failed to perform all necessary inspections and/or testing to
                      ensure that design and construction was performed in a good and
                      workmanlike manner and in accordance with applicable regulations,
                      standards, and codes; with respect to Allure's subcontractors, specifically
                       including CCA.

       73. A violation of the North Carolina Mechanical Code constitutes negligence per se.

       74. Mr. Baggett's failures constitute a breach of his duties. As alleged, the defects in

the design and/or construction of the Hall Home were latent and could not have been reasonably

discovered by Plaintiffs.

       75. As a direct and proximate result of Mr. Baggett's negligence, Plaintiffs have

incurred damages in an amount in excess of twenty-five thousand dollars ($25,000) plus costs

and expenses as allowed by law, including those damages alleged with more particularity above.

All such damages were reasonably foreseeable.




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                                  FIFTH CLAIM FOR RELIEF
                           (Negligence-Carolina Comfort Air, Inc.)

         76. The allegations of the preceding paragraphs are repeated here and incorporated

by reference.


         77. Defendant CCA had a duty to Plaintiffs to design and install the HVAC systems in

a good and workmanlike manner and in accordance with applicable regulations, standards and

codes.


         78. Defendant CCA owed Plaintiffs a duty to design and install the HVAC systems

such that they were free of latent defects that would ultimately cause mold growth.

         79. Defendant CCA failed to exercise ordinary and reasonable care in the design

and/or installation of the HVAC systems and in determining whether the HVAC systems that it

designed and installed contained a latent defect that would result in the failure of the HVAC

systems to safely perform as reasonably expected.

         80. Defendant CCA designed and/or installed HVAC systems in the Hall Home that

failed to comply with the North Carolina Mechanical Code, including but not limited to §§ 501.3

and 505.2.


         81. A violation of the North Carolina Mechanical Code constitutes negligence per se.

         82. Defendant CCA's failure to exercise ordinary and reasonable care and negligence

per se, as aforesaid, proximately caused damages to Plaintiffs.

         83. Plaintiffs have incurred damages in an amount in excess of twenty-five thousand

dollars ($25,000) plus costs and expenses as allowed by law, including those damages alleged

with more particularity above. All such damages were reasonably foreseeable.

                                   SIXTH CLAIM OF RELIEF
                                   (Negligence- Newcomb)

         84. The allegations of the preceding paragraphs are repeated here and incorporated

by reference.




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        85. Defendant Newcomb owed Plaintiffs a duty to use reasonable care and to properly

inspect, maintain, and repairs as necessary, the HVAC systems of the Hall Home, and to report

any defects in the systems, including visible mold growth.

       86. Defendant Newcomb had a duty to perform its inspection, maintenance, and repair

in conformance with all applicable regulations, standards, and codes and with industry standards.

       87. From 2016 to 2018, Defendant Newcomb repeatedly failed to exercise ordinary

and reasonable care in the inspection and maintenance of the HVAC systems and/or failed to

disclose to the Plaintiffs the presence of mold growth in the HVAC systems of the Hall Home.

       88. Defendant Newcomb's failure to exercise ordinary and reasonable care, as

aforesaid, proximately caused damages to Plaintiffs.

       89. As a direct and proximate result of Defendant Newcomb's negligence, Plaintiffs

have incurred damages in an amount in excess of twenty-five thousand dollars ($25,000) plus

costs and expenses as allowed by law, including those damages alleged with more particularity

above. All such damages were reasonably foreseeable.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully pray to the Court as follows:

       1. That Plaintiffs have and recover against Defendants, jointly and severally, an

amount in excess of $25,000.00, said amount to be proven at the trial of this action;

       2. That the costs of this action be taxed against Defendants, jointly and severally;

       3. That Plaintiffs have a trial by jury on all issues so triable; and

       4. For such other and further relief as this Court deems just and proper.

 PLAINTIFFS RESPECTFULLY DEMAND TRIAL BY JURY ON ALL ISSUES SO TRIABLE.




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Respectfully submitted, this the 27th day of October, 2020.


                                      EVERETT GA^NS HANCOCK LLP



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                                     Attorneys for Plaintiffs




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                                                  OFFER TO PURCHASE AND CONTRACT—NEW CONSTRUCTION
                                              [Consult "Guidelines" (Standard Form 800G) for guidance in completing this form]
              [This form is designed for use when licensed contractor is constructing or will construct a "spec" or custom single-family
          dwelling on land owned or to be owned by contractor and then convey improved land to buyer. It is not for use when: (1) the
                            contractor is not Seller, (2) Buyer owns the land or (3) Buyer will provide financing for construction.]

         For valuable consideration, the receipt and legal sufficiency of which are hereby acknowledged, Buyer offers to purchase and Seller
         upon acceptance agrees to sell and convey the Property on the terms and conditions of this Offer To Purchase and Contract—New
         Construction and any addendum or modification made in accordance with its terms (together the "Contract").


         1. TERMS AND DEFINITIONS: The terms listed below shall have the respective meaning given them as set forth adjacent to
         each term.
               (a) "Seller": AUure Homes, LLC
               NC contractor's license #: 662427                                          classification: Building                       limitunltmited

               (b) "Buyer": _Marcus S. ScAlisaM. HaU


               (c) "Real Estate": The Real Estate shall include all that certain lot or parcel of land described below together with all
               appurtenances thereto.
               Street Address: 4913 Yadkm Drive
               City:Raleigh                                                                                                                 Zip 27609
               County: wake                                                                                      , North Carolina
               (NOTE: Governmental authority over taxes, zoning, school districts, utilities and mail delivery may differ from address shown.)

               Legal Description: (Complete ALL applicable)
               Plat Reference: Lot 28 , Block/Section                                               , Subdivision North Hills Estates
                                                                           , as shown on Plat Book/Slide                                        atPage(s).
               The PIN/PID or other identification number of the Real Estate is: 1706236948
               Other description:
               Some or all of the Real Estate may be described in Deed Book 15340                                                       at Page 2785

               (d) "Purchase Price":
                     $ 1,041,000                                                         Paid in U.S. Dollars upon the following terms (to be adjusted by allowance and
                                                                                         Change Orders as defined in Paragraph 3(b)(iii)):
                     $N/A                                                                BY INITIAL EARNEST MONEY DEPOSIT made payable to Escrow Agent
                                                                                         named in Paragraph l(j) D with this offer OR d delivered within five (5) days
                                                                                         of the Effective Date of this Contract by D cash D personal check D official
                                                                                         bank check D wire transfer
                     $N/A                                                                BY (ADDITIONAL) EARNEST MONEY DEPOSIT made payable to Escrow
                                                                                         Agent named in Paragraph ICj) by cash or immediately available funds such as
                                                                                         official bank check or wire transfer to be delivered to Escrow Agent no later
                                                                                         than N/A
                                                                                         TIME BEING OF THE ESSENCE with regard to said date.
                     $N/A                                                                BY SELLER FINANCING in accordance with the attached Seller Financing
                                                                                         Addendum.
                     $.104,100                                                           BY BUILDING DEPOSIT made payable to Seller in accordance with the terms
                                                                                         ofsubparagraph (1) below
                     $.936,900                                                           BALANCE of the Purchase Price in cash at Settlement (some or all of which
                                                                                         may be paid with the proceeds of a new loan)

               Whenever the final cost for allowances is more or less than the allowances set forth in this Contract or any addendum to this
               Contract and whenever there are Change Orders which change the cost for the Dwelling, the difference shall be adjusted between
               the parties either prior to Settlement or at Settlement. The Purchase Price shall be the complete cost for the Property.



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                               This form jointly approved by:                                                                                 STANDARD FORM 800-T


          i3.                                                                                                                                                Revised 7/2013
                               North Carolina Bar Association
                               North Carolina Association of REALTORS®, Inc.                                                                                      © 7/2013
          REALTOR®

                               Buyer initials
                                                     \/f^
                                                       06/12/14
                                                                       (W
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                Should Buyer fail to deliver any Initial Earnest Money Deposit by their due dates, or should any check or other funds paid by
                Buyer be dishonored, for any reason, by the institution upon which the payment is drawn, Buyer shall have one (1) banking day
                after written notice to deliver cash or immediately available funds to the payee. In the event Buyer does not timely deliver cash or
                immediately available funds, Seller shall have the right to terminate this Contract upon written notice to Buyer.

                (e) "Pre-Construction Evaluation Period": The period beginning on the Effective Date and extending through N/A
                                                                                  TIME BEING OF THE ESSENCE with regard to said date.

               (f) "Dwelling": Seller shall complete construction of a single family dwelling and related improvements to be constructed on the
               Real Estate in accordance with the Plans and Specifications agreed to by Seller and Buyer.

                (g) "Property": The Property shall mean the Real Estate described in l(c) plus the Dwelling described in l(f).

               (h) "Plans and Specifications": NOTE: All site plans, drawings, floor plans, landscape plans, schedule of allowances,
                description of materials and specification lists should either be listed with copies attached as exhibits OR described with
               specificity (title of document, date, number of pages, designer, etc.) so they can be clearly identified and referenced:

                    )K Hall Residence Plans, AUure Home HaU Residence Specs, & Survey




               (i) "Earnest Money Deposit": The Initial Earnest Money Deposit, the Additional Earnest Money Deposit and any other earnest
               monies paid in connection with this transaction, hereinafter collectively referred to as "Earnest Money Deposit", shall be
               deposited and held in escrow by Escrow Agent until Closing, at which time it will be credited to Buyer, or until this Contract is
               otherwise terminated. In the event: (1) this offer is not accepted; or (2) a condition of any resulting contract is not satisfied, then
               the Earnest Money Deposit shall be refunded to Buyer. In the event of breach of this Contract by Seller, the Earnest Money
               Deposit shall be refunded to Buyer upon Buyer's request, but such return shall not affect any other remedies available to Buyer
               for such breach. In the event of breach of this Contract by Buyer, then without limiting any other remedies available to Seller for
               such breach, the Earnest Money Deposit shall be applied to such damages as Seller may be legally entitled to recover for such
               breach, and the balance of the Earnest Money Deposit, if any, shall be refunded to Buyer upon Buyer's request. If legal
               proceedings are brought by Buyer or Seller against the other to recover the Earnest Money Deposit, the prevailing party in the
               proceeding shall be entitled to recover from the non-prevailing party reasonable attorney fees and court costs incurred in
               connection with the proceeding.


               0) "Escrow Agent" (insert name): N/A

               NOTE: In the event of a dispute between Seller and Buyer over the disposition of the Earnest Money Deposit held in escrow, a
               licensed real estate broker ("Broker") is required by state law (and Escrow Agent, if not a Broker, hereby agrees) to retain the
               Earnest Money Deposit in the Escrow Agent's trust or escrow account until Escrow Agent has obtained a written release from the
               parties consenting to its disposition or until disbursement is ordered by a court of competent jurisdiction. Alternatively, if a
               Broker or an attorney licensed to practice law in North Carolina ("Attorney") is holding the Earnest Money Deposit, the Broker or
               Attorney may deposit the disputed monies with the appropriate clerk of court in accordance with the provisions of N.C.G.S.
               §93A-12.

               THE PARTIES AGREE THAT A REAL ESTATE BROKERAGE FIRM ACTING AS ESCROW AGENT MAY PLACE THE
               EARNEST MONEY DEPOSIT IN AN INTEREST BEARING TRUST ACCOUNT AND THAT ANY INTEREST EARNED
               THEREON SHALL BE DISBURSED TO THE ESCROW AGENT MONTHLY IN CONSIDERATION OF THE EXPENSES
               INCURRED BY MAINTAINING SUCH ACCOUNT AND RECORDS ASSOCIATED THEREWITH.

               (k) "Effective Date": The date that: (i) the last one of Buyer and Seller has signed or initialed this offer or the final counteroffer,
               if any, and (ii) such signing or initialing is communicated to the party making the offer or counteroffer, as the case may be.

               (1) "Building Deposit": The purpose of the Building Deposit, if any, shall be to compensate Seller for the cost of making the
               following special improvements: Builder Fee, Plans, Interest, Materials, Lot Clear

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                The Building Deposit shall be paid to Seller (not Escrow Agent) promptly upon occurrence of both of the following events: (i)
                expiration of the Pre-Construction Evaluation Period and (ii) receipt by Buyer of documentary evidence of Seller's financial
                ability to construct the Dwelling. If the Building Deposit is to be payable in installments, the payments shall be made according to
                the following schedule (insert "0" or "N/A" if the Building Deposit will not be paid in installments or if no Building Deposit will
                be paid). NOTE: The total of any installments should equal the amount of the Building Deposit set forth in Paragraph l(d) above,
                if any:
                $20,000                          Date or event triggering payment: Lot Deposit
                $84,100                          Date or event triggering payment: 06/QS/2014
                                                 Date or event triggering payment:
                                                 Date or event triggering payment:


               The Building Deposit is not a part of the Earnest Money Deposit and will be used by Seller in the construction of the
               special improvements described above. The Building Deposit will be credited to the Purchase Price at Settlement. The Building
               Deposit shall be refundable only in the event of a material breach of the Contract by Seller, or if this Contract is terminated under
               paragraph 13.

               Should Buyer fail to deliver the Building Deposit or any installment thereof in accordance with the terms of this subparagraph,
               Buyer shall have seven (7) days after written notice to deliver the Building Deposit or the installments to Seller. In the event
               Buyer does not timely deliver the Building Deposit, Seller shall have the right to terminate this Contract upon written notice to
               Buyer.


               (WARNING: In determining whether and how much Building Deposit Buyer is willing to pay, Buyer should carefully consider
               that even though Buyer may be legally entitled to a refund of the Building Deposit in the event of a material breach of this
               Contract by Seller, actual recovery of the Building Deposit may be difficult, time-consuming and/or costly if Seller is unable or
               unwilling to voluntarily refund the Building Deposit.)

               (m) "Settlement": The proper execution and delivery to the closing attorney of all documents necessary to complete the
               transaction contemplated by this Contract, including the deed, settlement statement, deed of trust and other loan or conveyance
               documents, and payment of all funds necessary to complete such transaction.


               (n) "Settlement Date" The parties agree that Settlement will take place on 04/06/201S _(the "Settlement Date"), unless
               otherwise agreed in writing, at a time and place designated by Buyer. The parties acknowledge and understand that Settlement
               may be delayed for a number of reasons, including but not limited to: (i) an extension of the Pre-Construction Evaluation Period
               under paragraph 2(e); (ii) a delay in construction under paragraph 3(g); (iii) an unsatisfactory title update or the closing attorney's
               lack of authority to disburse funds under paragraph l(o); or (iv) Seller's failure to perform any required correction, repair,
               treatment or remediation or other work that may be required under paragraph 4. In the event of a delay in Settlement, the
               Settlement Date will be extended by a reasonable time to account for the delay(s) experienced. Unless otherwise agreed in
               writing, there must be Substantial Completion of the Dwelling on or before the Settlement Date.

               (o) "Closing": The completion of the legal process which results in the transfer of title to the Property from Seller to Buyer.
               Closing includes the following steps: (1) the Settlement (defined above); (2) the completion of a satisfactory title update to the
               Property following the Settlement; (3) the closing attorney's receipt of authorization to disburse all necessary funds; and (4)
               recordation in the appropriate county registry of the deed(s) and deed(s) of trust, if any, which shall take place as soon as
               reasonably possible for the closing attorney after Settlement. Upon Closing, the proceeds of sale shall be disbursed by the closing
               attorney in accordance with the settlement statement and the provisions of Chapter 45A of the North Carolina General Statutes. If
               the title update should reveal unexpected liens, encumbrances or other title defects, or if the closing attorney is not authorized to
               disburse the lender's funds, then the Closing shall be suspended and the Settlement deemed delayed.

             WARNING: The North Carolina State Bar has determined that the performance of most acts and services required for a closing
             constitutes the practice of law and must be performed only by an attorney licensed to practice law in North Carolina. State law
             prohibits unlicensed individuals or firms from rendering legal services or advice. Although non-attorney settlement agents may
             perform limited services in connection with a closing, they may not perform all the acts and services required to complete a
             closing. A closing involves significant legal issues that should be handled by an attorney. Accordingly it is the position of the
             North Carolina Bar Association and the North Carolina Association of REALTORS that all buyers should hire an attorney
             licensed in North Carolina to perform a closing.

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               (p) "Special Assessments": A charge against the Property by a governmental authority in addition to ad valorem taxes and
               recurring governmental service fees levied with such taxes, or by an owners' association in addition to any regular assessment
               (dues), either of which may be a lien against the Property. A Special Assessment may be either proposed or confirmed.

               "Proposed Special Assessment": A Special Assessment that is under formal consideration but which has not been approved prior
               to Settlement.


               "Confirmed Special Assessment": A Special Assessment that has been approved prior to Settlement'whether or not it is ftilly
               payable at time of Settlement.

               (q) "Substantial Completion": The completion of the construction of the Dwelling in accordance with the Plans and
               Specifications and any other special provisions that may be part of the Contract to the degree that: (i) it is habitable and broom-
               clean, (ii) a certificate of occupancy has been issued by the appropriate governmental authority having jurisdiction over the
               construction of the Dwelling and delivered to Buyer, and (iii) only Punch List Items remain to be corrected.

        2.     CONDITIONS APPLICABLE DURING PRE-CONSTRUCTION EVALUATION PERIOD: During the Pre-Construction
               Evaluation Period, the following conditions shall apply:
               (a) Buyer Loan Condition: E Not Applicable
               Unless not applicable, Buyer's performance is contingent upon Buyer's ability to obtain a DFHAD VA (attach FHA/VA
               Financing Addendum) U Conventional Q Other: _ loan at a Q Fixed Rate d Adjustable Rate in the
               principal amount of plus any financed VA Funding Fee or FHA MIP for a term of
                                       year(s), at an initial interest rate not to exceed _% per annum, with mortgage loan discount points
               not to exceed                    % and with loan origination fee not to exceed              % of the loan amount ("Loan"). Buyer agrees pursue
               qualification for and approval of the Loan diligently and in good faith. Prior to the expiration of the Pre-Construction Evaluation
               Period, TIME BEING OF THE ESSENCE, Buyer shall have the right to terminate this Contract by delivering to Seller written
               notice of termination if Buyer, in Buyer's sole discretion, is not satisfied that the Loan will be approved and funded. If Buyer has
               timely delivered such notice, this Contract shall be terminated and all Earnest Money shall be refunded to Buyer. If Buyer fails to
               deliver such notice, then Buyer will be deemed to have waived this condition. Buyer shall provide documentary evidence to Seller
               that Buyer can obtain the Loan.


               (b) Seller Loan Condition: 0Not Applicable
               Unless not applicable, Seller's performance is contingent upon Seller's ability to obtain such financing as may be necessary to
               perform Seller's obligations under this Contract. Seller agrees to pursue qualification for and approval of such financing diligently
               and in good faith. Prior to the expiration of the Pre-Construction Evaluation Period, TIME BEING OF THE ESSENCE, Seller
               shall have the right to terminate this Contract by delivering to Buyer written notice of termination if Seller, in Seller's sole
               discretion, is not satisfied that Seller will be able to obtain financing necessary to perform Seller's obligations under this Contract
              or financing upon such terms that are acceptable to Seller. If Seller has timely delivered such notice, this Contract shall be
              terminated and all Earnest Money shall be refunded to Buyer. If Seller fails to deliver such notice, then Seller will be deemed to
              have waived this condition. Seller shall provide documentary evidence to Buyer of Seller's financial ability to construct the
              Dwelling.

               (c) Reports: This Contract is contingent upon Seller obtaining the following applicable report(s) or permits (collectively the
               "Reports"):
                     (i) Soil Suitability (QApplicable 0 Not Applicable): The soil is suitable for the Dwelling.
                     (ii) Utility Availability (D Applicable E Not Applicable): The following utilities are available to the
                            Property:
                     (iii) Environmental Restrictions (D Applicable U Not Applicable): There is no environmental contamination, law, rule
                            or regulation that prohibits or unreasonably limits the use of the Property for residential purposes.
                     (iv) Environmental Permits (Q Applicable 0 Not Applicable): An Improvement Permit from any environmental
                            regulatory agency which may have jurisdiction concerning the Real Estate which would allow the construction of the
                            Dwelling.
                     (v) Flood Hazard (D Applicable E Not Applicable): There is no flood hazard that prohibits or unreasonably limits the
                            use of the Property for residential purposes.
                     (vi) Septic System (Q Applicable E Not Applicable): An Improvement Permit or written evaluation from the County
                            Health Department ("County") for a (check only ONE) D conventional or D other
                                                                                               ground absorption sewage system for a         bedroom home.



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                       (vii) Private Drinking Water Well (Q Applicable El Not Applicable): A Construction Permit fi-om the County Health
                               Department ("County") for a private drinking water well.
                       (viii) Zoning/Restrictive Covenants (Q Applicable 0 Not Applicable): The Dwelling may be constructed in accordance
                                 with applicable zoning and restrictive covenants.
                   (ix) Architectural Review (D Applicable 0 Not Applicable): Approval from architectural review board/committee that
                          the Dwelling meets applicable architectural requirements.
         All costs and expenses of obtaining the Reports shall be borne by Seller, and Seller shall use best efforts to timely obtain the Reports
         and provide copies of them to Buyer. If the Reports cannot be obtained by the expiration of the Pre-Construction Evaluation Period,
         either party may terminate this Contract by delivering to the other party ^vritten notice of termination within three (3) days following
         the expiration of the Pre-Construction Evaluation Period, TIME BEING OF THE ESSENCE. If the terminating party has timely
         delivered such notice, this Contract shall be terminated and all Earnest Money shall be refunded to Buyer. If neither party delivers
         such notice, then the parties will be deemed to have waived this condition.

                (d) Insurance Availability/Affordability Condition:
                        (i) Casualty Insurance: (if checked, the following terms apply). Buyer must be able to obtain the insurance set forth in
                     subparagraph (a) or (b) below at a rate not exceeding One Hundred Fifty Percent (150%) of the "Base Rate" for such
                     insurance as filed by the NC Rate Bureau with the NC Department of Insurance.
                     (Check_fhe appropriate box)
                            a (a) Buyer intends to occupy the Dwelling as Buyer's primary residence, and must be able to obtain insurance on the
                                 Property with coverage at least equivalent to that contained in a Homeowners 2 - Broad Form policy (also known as an
                                 H02 policy) without optional coverages.
                                   (b) Buyer does not intend to occupy the Dwelling as Buyer's primary residence and must be able to obtain
                                 insurance on the Property with coverage at least equivalent to that contained in a Dwelling Property 2 - Broad Form
                              policy (also known as aDP2 policy) without optional coverages.
                      D (ii) Flood Insurance: (;/ checked, the following terms apply). Buyer must be able to obtain Flood Insurance on the
                      proposed Dwelling through the Federal Environmental Management Act Program.
                         (iii) Termination: If either subparagraph (i) or (ii) or both, above, have been checked, then prior to the expiration of the
                      Pre-Construction Evaluation Period. TIME BEING OF THE ESSENCE, Buyer shall have the right to terminate this
                      Contract by delivering to Seller written notice of termination if Buyer, in Buyer's sole discretion, is not satisfied that Buyer
                      will be able to obtain insurance of the type and at the rate described above. If Buyer has timely delivered such notice, this
                      Contract shall be terminated and all Earnest Money shall be refunded to Buyer. If Buyer fails to deliver such notice, then
                      Buyer will be deemed to have waived this condition.

               (e) Extension: TIME IS OF THE ESSENCE REGARDING THE EXPIRATION OF THE PRE-CONSTRUCTION
               EVALUATION PERIOD. The parties may, but are not required to, agree to extend the Pre-Construction Evaluation Period. Any
               extension of the Pre-Construction Evaluation must be in writing and signed by the parties. In the event of an extension, the
               Settlement Date shall be extended by the same period of time that the Pre-Construction Evaluation Period has been extended.

         (NOTE: The failure of a party to terminate this Contract based upon a condition contained in this Pre-Construction Evaluation Period
         paragraph shall not constitute a waiver of or otherwise affect any other rights that the party may have under this Contract.)

         3. CONSTRUCTION OF DWELLING.
               (a) Quality of Construction: Seller shall construct the Dwelling (i) in accordance with the Plans and Specifications; (ii) in
               compliance with all laws, regulations, codes, and ordinances applicable to the construction of the Dwelling; and (iii) in a good and
               workmanlike manner with new, good quality materials and components.


               (b) Changes:
                    (i) Seller Changes: Seller shall not make any significant deviation or change in the Plans and Specifications without the prior
                      written consent of Buyer.
                      (ii) Buyer Changes: Buyer may request changes in the construction of the Dwelling within the general scope of the Plans
                      and Specifications, consisting of additions, deletions or other revisions.
                      (iii) Change Order: Changes under (i) and/or (ii) above shall be made only by a Change Order, which shall be in writing and
                      signed by both Buyer and Seller ("Change Order"). Any adjustments in the Purchase Price, Building Deposit and Settlement
                      date shall be as set forth in the Change Order.

               (c) Construction Costs: Seller shall provide and pay for all labor, materials, equipment, tools, clean-up, utilities, transportation,
               facilities, permits, fees, licenses, all plans and specifications and all other costs, charges and expenses whatsoever in connection
               with or related to the construction of the Dwelling unless otherwise agreed in writing.

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                   (d) Construction Financing: Seller shall pay all costs, charges, and other expenses, of any nature whatsoever, for Seller's
                   construction financing of the Dwelling.


                  (e) Building Permit: Within _ days after the expiration of the Pre-Construction Evaluation Period, Seller will obtain the
                  building permit for the construction of the Dwelling. With respect to this deadline, TIME D IS 0 IS NOT OF THE
                  ESSENCE. Construction of the Dwelling shall commence upon issuance of the building permit and necessary land use permits.

                  (f) Punch List Items:
                       (i) Seller shall notify Buyer when there has been Substantial Completion of the Dwelling and shall schedule a mutually
                       agreeable date and time on which Buyer shall inspect the Dwelling. Prior to Settlement, Buyer and Seller shall agree upon a
                       written list of all deficiencies in workmanship and material that are detectable by visual examination ("Punch List Items").
                       Seller shall correct Punch List Items at Seller's cost within a reasonable period of time. AFTER SUBSTANTIAL
                          COMPLETION(as defined in Paragraph l(q)), SELLER'S FAILURE TO CORRECT A PUNCH LIST ITEM PRIOR TO
                          SETTLEMENT WILL NOT BE GROUNDS FOR DELAYING SETTLEMENT OR THE IMPOSITION OF ANY
                          CONDITIONS ON SETTLEMENT; PROVIDED, SETTLEMENT SHALL NOT RELIEVE SELLER PROM THE
                          OBLIGATION TO CORRECT ANY PUNCH LIST ITEM.
                          (ii) This subparagraph (f) shall not be deemed to limit Buyer's right to conduct inspections under Paragraph 4 below or limit
                          the obligations of Seller under the Limited Warranty of Construction under Paragraph 5 below.

                  (g) Delay in Construction: If Seller is delayed at any time in the progress of construction by (i) any act or neglect of Buyer; (ii)
                  written Change Orders; (iii) shortages of materials, adverse weather conditions, or delays in transportation which were not
                  reasonably anticipated; or (iv) acts of God, Seller shall give as much notice as possible of the delay to Buyer and the time for
                  Substantial Completion of construction of the Dwelling and the Settlement Date shall be extended by a reasonable time to account
                  for the delay(s) experienced. BUYER ACKNOWLEDGES AND UNDERSTANDS THE IMPORTANCE OF COOPERATDTO
                  FULLY WITH SELLER IN ORDER TO HELP EXPEDITE THE CONSTRUCTION OF THE DWELLING AND TO AVOID
                  OR MINIMIZE ANY DELAY IN SETTLEMENT, INCLUDING BUT NOT LIMITED TO TIMELY COMMUNICATION OF
                  ANY REQUESTED CHANGES IN THE CONSTRUCTION OF THE DWELLING IN ACCORDANCE WITH PARAGRAPH
                  3(b)(ii) ABOVE AND MAKING PROMPT DECISIONS ON ANY ALLOWANCE ITEMS.

          4. BUYER'S INVESTIGATION OF CONSTRUCTION:
                  (a) Inspections: Buyer or Buyer's designated representative may enter the Dwelling at reasonable times through the earlier of
                  Closing or possession by Buyer, in such manner as not to interfere with the progress of construction, for the purpose of
                  conducting such inspections as Buyer deems appropriate to determine whether the work performed or being performed conforms
                  with the Plans and Specifications and the terms of this Contract. In the event that during construction Buyer shall reasonably
                  determine that such construction is not proceeding in accordance with this Contract, Buyer shall give written notice to Seller
                  specifying the particular deviation, deficiency, or omission, and Seller shall forthwith correct such deviation, deficiency, or
                  omission. Buyer's rights under this paragraph shall not release Seller from any of Seller's obligations for the construction of the
                  Dwelling in accordance with the Plans and Specifications and this Contract.

                  (b) Wood-Destroying Insects: Buyer shall have the option of obtaining, at Buyer's expense, prior to Settlement, a report from a
                  licensed pest control operator on a standard form in accordance with the regulations of the North Carolina Structural Pest Control.
                  Committee, stating that as to the Dwelling there was no visible evidence ofwood-destroying insects and containing no indication
                  of visible damage therefrom. If the report indicates that there is visible evidence of wood-destroying insects or visible damage
                  therefrom, Seller shall perform any required treatment and make any necessary repairs. Buyer is advised that the inspection
                  report described in this paragraph may not always reveal either structural damage or damage caused by agents or
                  organisms other than wood-destroying insects. Seller shall provide a standard warranty of termite soil treatment.


                  (c) Radon Inspection: Buyer shall have the option, at Buyer's expense, to have the Property tested for radon prior to Settlement.
                  The test result shall be deemed satisfactory to Buyer if it indicates a radon level of less than 4.0 pico curies per liter of air (as of
                  January 1, 1997, EPA guidelines reflect an "acceptable" level as anything less than 4.0 pico curies per liter of air). If the
                  test result exceeds the above-mentioned level, Seller shall remediate to bring the radon level within the satisfactory range. Upon
                  the completion of remediation, Buyer may have a radon test performed at Seller's expense, and if the test result indicates a radon
                  level less than 4.0 pico curies per liter of air, it shall be deemed satisfactory to Buyer.


                  (d) Delay in Settlement: Seller's failure to perform any required correction, repair, treatment or remediation or other work that
                  may be required under this paragraph 4 prior to Settlement will be grounds for delaying Settlement.


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                (e) Buyer's Obligation to Repair Damage: Buyer shall, at Buyer's expense, promptly repair any damage to the Property resulting
                from any activities of Buyer and Buyer's agents and contractors, but Buyer shall not be responsible for any damage caused by accepted
                practices either approved by the NC Home Inspector Licensure Board or applicable to any other NC licensed professional performing
               reasonable appraisals, tests, surveys, examinations and inspections of the Property.


                (f) Indemnity: Buyer will indemnify and hold Seller harmless from all loss, damage, claims, suits or costs, which shall arise out of
               any contract, agreement, or injury to any person or property as a result of any activities of Buyer and Buyer's agents and contractors
               relating to the Property except for any loss, damage, claim, suit or cost arising out of pre-existing conditions of the Property and/or out
               of Seller's negligence or willful acts or omissions. This repair obligation and indemnity shall survive this Contract and any termination
               hereof.

         5. WARRANTIES:
             (a) Limited Warranty Of Construction. Unless otherwise provided for herein, Seller hereby warrants that, for a period of one
             (1) year from the date of Closing or the date Buyer occupies the Dwelling, whichever comes first, Seller will make all necessary
               repairs and corrections to the Dwelling, either interior or exterior, structural or nonstructural, that shall become necessary by
               reason of faulty construction, labor or materials or non-conformity of construction to the Plans and Specifications. At Seller's sole
               option, Seller may either (i) make such repairs and corrections, (ii) replace any faulty or non-conforming item or condition or (iii)
               pay to Buyer the reasonable cost of such repair, correction or replacement. This limited warranty: (1) is for the benefit of Buyer
               only and may not be assigned nor shall it inure to the benefit of any other person or entity, and (2) shall survive Closing and the
               delivery of the deed. LJ If checked, the foregoing Limited Warranty shall not apply and is replaced by the attached ^vritten
               warranty from Seller.


               (b) Warranties Of Components. Seller shall assign and deliver to Buyer at Settlement all guarantees and warranties of all
               components comprising the Dwelling to the extent the same are assignable. Buyer shall be responsible for compliance with any
               notice and claim procedures set forth therein. Seller's warranty under Paragraph 5(a) shall not extend to any such component
               expressly guaranteed or warranted by the manufacturer.


        6. INSULATION OF DWELLING:                                                  WALLS                  CEILINGS            FLOORS

                                                            TYPE Fiberglass                        Fiberglass         Fiberglass

                                                THICKNESS 3 1/2"                                   11"                9 1/4"

                                                     R-VALUE R-15                                  R-38/30            R-19


        7. BUYER REPRESENTATIONS:
               (a) Other Property: Buyer D does 0 does not have to sell or lease other real property in order to qualify for a new loan or to
               complete the purchase of the Property. (WARNING: This does not create a contingent sale condition. The Contingent Sale
               Addendum (Form 2A2-T) is not designed for use with this Contract and should not be used. If a contingent sale condition is
               desired, consult a NC real estate attorney.)


               (b) Performance of Buyer's Financial Obligations: To the best of Buyer's knowledge, there are no other circumstances or
               conditions existing as of the date of this offer that would prohibit Buyer from performing Buyer's financial obligations in
               accordance with this Contract, except as may be specifically set forth herein.

        8. BUYER OBLIGATIONS:
               (a) Owner Association Fees/Charges: Buyer shall pay any fees required for obtaining account payment information on owners'
               association dues or assessments for payment or proration and any charge made by the owners' association in connection with the
               disposition of the Property to Buyer, including any transfer and/or document fee imposed by the owners' association.


               (b) Responsibility for Proposed Special Assessments: Buyer shall take title subject to all Proposed Special Assessments.

               (c) Responsibility for Certain Costs: Buyer shall be responsible for all costs with respect to any loan obtained by Buyer,
               appraisal, title search, title insurance, recording the deed and for preparation and recording of all instruments required to secure
               the balance of the Purchase Price at Settlement.


        9. SELLER REPRESENTATIONS:
               (a) Ownership: Seller represents that Seller:
               E has owned the Real Estate for at least one year;

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                 D has owned the Real Estate for less than one year
                 D does not yet own the Real Estate

                 (b) Assessments: To the best of Seller's knowledge there are no Proposed Special Assessments except as follows (Insert "None"
                 or the identification of such assessments, if any): None
                 Seller warrants that there are no Confirmed Special Assessments except as follows (Insert "None" or the identification of such
                 assessments, if any): None


                 (c) Contractor's License: Seller represents that Seller is licensed to construct the improvements on the Real Estate.


                 (d) Owners' Association(s) and Dues: To best of Seller's knowledge, ownership of the Property Q subjects 0 does not subject
                 Buyer to regulation by one or more owners' association(s) and governing documents, which impose various mandatory
                 covenants, conditions and restrictions upon the Property and Buyer's enjoyment thereof, including but not limited to obligations
                 to pay regular assessments (dues) and Special Assessments. If there is an owners' association, then an Owners' Association
                 Disclosure and Addendum For Properties Exempt from Residential Property Disclosure Statement (Standard Form 2A12-T) shall
                 be completed by Seller, at Seller's expense, and must be attached as an addendum to this Contract.


                 (e) OIL AND GAS RIGHTS DISCLOSURE:
                 Oil and gas rights can be severed from the title to real property by conveyance (deed) of the oil and gas rights from the
                 owner or by reservation of the oil and gas rights by the owner. If oil and gas rights are or will be severed from the
                 property, the owner of those rights may have the perpetual right to drill, mine, explore, and remove any of the subsurface
                 oil or gas resources on or from the property either directly from the surface of the property or from a nearby location.
                With regard to the severance of oil and gas rights, Seller makes the following disclosures:


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                               ^^
                              06/12/14               1. Oil and gas rights were severed from the property
                                                                                                                  Yes No No Representation
                                                                                                                  a D B
               3miMyeDH:iM                                   by a previous owner.


                  w
                 /f£^\
                 06/12/14
               3WHSMi
                              06/12/14               2. Seller has severed the oil and gas rights from the
                                                             property.
                                                                                                                  Yes No
                                                                                                                  D E
                                                                                                                  Yes No
                 /f^\ (W^
                 06/12/14     06/12/14               3. Seller intends to sever the oil and gas rights from            El
               3guMyeDHmii                                  the property prior to transfer of title to Buyer.


         This disclosure does not modify or limit the obligations of Seller under Paragraph 10(f) of this Contract and shall not constitute the
         assumption or approval by Buyer of any severance of oil and gas rights, except as may be assumed or specifically approved by Buyer
         in writing.


         (NOTE: The parties are advised to consult with a NC attorney prior to signing this Contract if severance of oil and gas rights has
         occurred or is intended.)


         10. SELLER OBLIGATIONS: In addition to Seller's obligation to constmct the Dwelling in accordance with paragraph 3 above,
         Seller shall have the following additional obligations:

                (a) Evidence Of Title: Seller agrees to use best efforts to deliver to Buyer as soon as reasonably possible after the Effective Date,
                copies of all title information in possession of or available to Seller, including but not limited to: title insurance policies,
                attorney's opinions on title, surveys, covenants, deeds, notes and deeds of trust, leases, and easements relating to the Property.
                Seller authorizes: (1) any attorney presently or previously representing Seller to release and disclose any title insurance policy in
                such attorney's file to Buyer and both Buyer's and Seller's agents and attorneys; and (2) the Property's title insurer or its agent to
                release and disclose all materials in the Property's title insurer's (or title insurer's agent's) file to Buyer and both Buyer's and
                Seller's agents and attorneys.


                (b) Access to PropertyAValk-Through Inspection: Seller shall provide reasonable access to the Property (including working,
                existing utilities) through the earlier of Closing or possession by Buyer, including, but not limited to, allowing the Buyer an
                opportunity to conduct a final walk-through inspection of the Property.

                (c) Removal of Seller's Property: Seller shall remove, by the date possession is made available to Buyer, all personal property
                which is not a part of the purchase and all garbage and debris from the Property.

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                (d) Affidavit And Indemnification Agreement: Seller shall furnish at Settlement an affidavit(s) and indemnification
                agreement(s) in form satisfactory to Buyer and Buyer's title insurer, if any, executed by Seller and any person or entity who has
                performed or furnished labor, services, materials or rental equipment to the Property within 120 days prior to the date of
                Settlement and who may be entitled to claim a lien against the Property as described in N.C.G.S. §44A-8 verifying that each such
                person or entity has been paid in fall and agreeing to indemnify Buyer, Buyer's lender(s) and Buyer's title insurer against all loss
                from any cause or claim arising therefrom.


                (e) Designation of Lien Agent, Payment and Satisfaction of Liens: If required by N.C.G.S. §44A-11.1, Seller shall have
                designated a Lien Agent, and Seller shall deliver to Buyer as soon as reasonably possible a copy of the appointment of Lien
               Agent. All deeds oftmst, deferred ad valorem taxes, liens and other charges against the Property, not assumed by Buyer, must be
               paid and satisfied by Seller prior to or at Settlement such that cancellation may be promptly obtained following Closing. Seller
               shall remain obligated to obtain any such cancellations following Closing.

               (f) Good Title, Legal Access: Seller shall execute and deliver a GENERAL WARRANTY DEED for the Property in recordable
               form no later than Settlement, which shall convey fee simple marketable and insurable title, without exception for mechanics'
               liens, and free of any other liens, encumbrances or defects, including those which would be revealed by a current and accurate
               survey of the Property, except: ad valorem taxes for the current year (prorated through the date of Settlement); utility easements
               and unviolated covenants, conditions or restrictions that do not materially affect the value of the Property; and such other liens,
               encumbrances or defects as may be assumed or specifically approved by Buyer in writing. The Property must have legal access to
               a public right of way.

               (g) Deed, Excise Taxes: Seller shall pay for preparation of a deed and all other documents necessary to perform Seller's
               obligations under this agreement, and for state and county excise taxes required by law. The deed is to be made
               to:.Marcus S. &Alisa M. HaU

               (h) Agreement to Pay Buyer Expenses: Seller shall pay at Settlement $N/A _ toward any of Buyer's
               expenses associated with the purchase of the Property, including any FHLWA lender and inspection costs that Buyer is not
               permitted to pay, less any portion disapproved by Buyer's lender.


               (NOTE: Examples of Buyer's expenses associated with the purchase of the Property include, but are not limited to, discount
               points, loan origination fees, appraisal fees, attorney's fees, inspection fees, and "pre-paids" (taxes, insurance, HOA dues, etc.)).


               (i) Payment of Confirmed Special Assessments: Seller shall pay all Confirmed Special Assessments, if any, provided that the
               amount thereof can be reasonably determined or estimated.


               (j) Late Listing Penalties: All property tax late listing penalties, if any, shall be paid by Seller.

               (k) Owners' Association Disclosure and Addendum For Properties Exempt from Residential Property Disclosure
               Statement (Standard Form 2A12-T): If applicable, Seller shall provide the completed Owners' Association Disclosure and
               Addendum For Properties Exempt from Residential Property Disclosure Statement to Buyer on or before the Effective Date.

               (1) Seller's Failure to Comply or Breach: If Seller fails to materially comply with any of Seller's obligations under this
               Paragraph 10 or Seller materially breaches this Contract, and Buyer elects to terminate this Contract as a result of such failure or
               breach, then the Earnest Money Deposit and any Building Deposit will be refunded to Buyer and Seller shall reimburse to Buyer
               the reasonable costs actually incurred by Buyer in connection with Buyer's qualification for and approval of any Loan and any
               tests, surveys, appraisals, investigations, examinations and inspections of the Property conducted by Buyer or Buyer's agents or
               representatives, without affecting any other remedies. If legal proceedings are brought by Buyer against the Seller to recover the
               Earnest Money Deposit, any Building Deposit and/or the reasonable costs actually incurred by Buyer in connection with Buyer's
               qualification for and approval of any Loan and any tests, surveys, appraisals, investigations, examinations and inspections of the
               Property conducted by Buyer or Buyer's agents or representatives, the prevailing party in the proceeding shall be entitled to
               recover from the non-prevailing party reasonable attorney fees and court costs incurred in connection with the proceeding.


        11. PRORATIONS AND ADJUSTMENTS: Unless otherwise provided, the following items shall be prorated through the date of
            Settlement and either adjusted between the parties or paid at Settlement:
               (a) Ad valorem taxes and recurring governmental service fees levied with such taxes on real property shall be prorated on a
               calendar year basis;
               (b) Owners' association regular assessments ("dues") and other like charges.

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          12, ADDITIONAL THIRD-PARTY HOME WARRANTY:
                 E3No additional third party home warranty is to be provided by Seller.
                      Buyer may obtain a -year home warranty at a cost not to exceed $_                                             and Seller agrees to pay for it at
                 Settlement.
                      Seller has obtained and will provide a_-year home warranty from                                                                             at a
                 cost of $ and will pay for it at Settlement. NOTE: Home warranties typically have limitations on and conditions to
                 coverage. Refer specific questions to the home warranty company.
          Any additional third party home warranty shall not limit Seller's obligations under Paragraph 5.

          13. RISK OF LOSS AND INSURANCE:
                 (a) Risk of Loss; The risk of loss or damage by fire or other casualty prior to Closing shall be upon Seller. If the improvements
                 on the Real Estate are destroyed or materially damaged prior to Closing, Buyer may terminate this Contract by ^vritten notice
                 delivered to Seller or Seller's agent and all deposits shall be refunded to Buyer. In the event Buyer does NOT elect to terminate
                 this Contract, Buyer shall be entitled to receive, in addition to the Property, any of Seller's insurance proceeds payable on account
                 of the damage or destruction applicable to the Property being purchased. Seller is advised not to cancel existing insurance on the
                 Property until after confirming recordation of the deed.

                 (b) Insurance: Seller shall purchase and maintain "All Risks" Builder's Risk Insurance coverage, including Theft and Vandalism
                 and Malicious Mischief, upon the Dwelling on a "Completed Values" basis, while the Dwelling is in the course of construction.
                "Completed Values" shall mean the full value of the Dwelling, as of the date that all construction is completed, including Seller's
                total cost plus profit, but excluding the cost of the land. In the event that construction is fully completed prior to sale of the
                 Property, Seller shall purchase and maintain Permanent "All Risks" Property Insurance coverage on the Dwelling, including Theft
                 and Vandalism and Malicious Mischief, on a "Replacement Cost" basis. "Replacement Cost" shall mean the fall cost of
                replacement of the structure or structures at the same site with new material of like kind and quality without deduction for
                depreciation. In addition, Seller shall purchase and maintain Third Party Liability Insurance coverage on the premises of the
                Property during the course of, and after construction is completed.


          14. POSSESSION: Possession, including all means of access to the Property (keys, codes, garage door openers, etc.) shall be
         delivered upon Closing as defined in Paragraph l(o) unless otherwise provided herein.

         15. OTHER PROVISIONS AND CONDITIONS: CHECK ALL STANDARD ADDENDA THAT MAY BE A PART OF THIS
         CONTRACT, IF ANY, AND ATTACH HERETO. ITEMIZE ALL OTHER ADDENDA TO TfflS CONTRACT, IF ANY, AND
         ATTACH HERETO. (NOTE: UNDER NORTH CAROLINA LAW, REAL ESTATE AGENTS ARE NOT PERMITTED TO
         DRAFT CONDITIONS OR CONTINGENCIES TO THIS CONTRACT.)
         D Additional Provisions Addendum (Form 2A11 -T) D Owners' Association Disclosure And Addendum For Properties
           Schedule of Allowances Addendum (Form 800A1-T Exempt from Residential Property Disclosure Statement (Form 2A12-T)
         D FHA/VA Financing Addendum (Form 2A4-T) Q Seller Financing Addendum (Form 2A5-T)
         D OTHER:


         16. ASSIGNMENTS: This Contract may not be assigned without the written consent of all parties except in connection with a tax-
         deferred exchange, but if assigned by agreement, then this Contract shall be binding on the assignee and his heirs and successors.

         17. TAX-DEFERRED EXCHANGE: In the event Buyer or Seller desires to effect a tax-deferred exchange in connection with the
         conveyance of the Property, Buyer and Seller agree to cooperate in effecting such exchange; provided, however, that the exchanging
         party shall be responsible for all additional costs associated with such exchange, and provided further, that a non-exchanging party
         shall not assume any additional liability with respect to such tax-deferred exchange. Seller and Buyer shall execute such additional
         documents, including assignment of this Contract in connection therewith, at no cost to the non-exchanging party, as shall be required
         to give effect to this provision.

         18. PARTIES: This Contract shall be binding upon and shall inure to the benefit of Buyer and Seller and their respective heirs,
         successors and assigns. As used herein, words in the singular include the plural and the masculine includes the feminine and neuter
         genders, as appropriate.


         19. SURVIVAL: If any provision herein contained which by its nature and effect is required to be observed, kept or performed after
         the Closing, it shall survive the Closing and remain binding upon and for the benefit of the parties hereto until fully observed, kept or
         performed.

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         20. ENTIRE AGREEMENT: This Contract contains the entire agreement of the parties and there are no representations,
         inducements or other provisions other than those expressed herein. All changes, additions or deletions hereto must be in writing and
         signed by all parties. Nothing contained herein shall alter any agreement between a REALTOR or broker and Seller or Buyer as
         contained in any listing agreement, buyer agency agreement, or any other agency agreement between them.


         21. NOTICE: Any notice or communication to be given to a party herein may be given to the party or to such party's agent. Any
         written notice or communication in connection with the transaction contemplated by this Contract may be given to a party or a party's
         agent by sending or transmitting it to any mailing address, e-mail address or fax number set forth in the "Notice Information" section
         below. Seller and Buyer agree that the "Notice Information" and "Escrow Acknowledgment" sections below shall not constitute a
         material part of this Contract, and that the addition or modification of any information therein shall not constitute a rejection of an
         offer or the creation of a counteroffer.


         22. EXECUTION: This Contract may be signed in multiple originals or counterparts, all of which together constitute one and the
         same instrument, and the parties adopt as their seals the word "SEAL" beside their signatures below.


         23. COMPUTATION OF DAYS: Unless otherwise provided, for purposes of this Contract, the term "days" shall mean consecutive
         calendar days, including Saturdays, Sundays, and holidays, whether federal, state, local or religious. For the purposes of calculating
         days, the count of "days" shall begin on the day following the day upon which any act or notice as provided in this Contract was
         required to be performed or made.


         THE NORTH CAROLINA ASSOCIATION OF REALTORS®, INC. AND THE NORTH CAROLINA BAR ASSOCIATION
         MAKE NO REPRESENTATION AS TO THE LEGAL VALIDITY OR ADEQUACY OF ANY PROVISION OF TfflS FORM IN
         ANY SPECIFIC TRANSACTION. IF YOU DO NOT UNDERSTAND THIS FORM OR FEEL THAT IT DOES NOT PROVIDE
         FOR YOUR LEGAL NEEDS, YOU SHOULD CONSULT A NORTH CAROLINA REAL ESTATE ATTORNEY BEFORE YOU
         SIGN IT.

         This offer shall become a binding contract on the Effective Date.

         Date:                                                                                                      Date:

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        Date:                                                                                                       Date:


         Buyer]                                                                               (SEAL)                Seller                                                              (SEAL)

        Date:
                                                                                                                    Business Entity Seller:

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        Buyer]
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                                                                                                                                    CPrint Entity Namet

                                                                                                                    By:
                                                                                                                                         (Signature)

                                                                                                                    Title:




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                                                                                      NOTICE INFORMATION

         NOTE: INSERT THE ADDRESS AND/OR ELECTRONIC DELIVERY ADDRESS EACH PARTY AND AGENT APPROVES
         FOR THE RECEIPT OF ANY NOTICE CONTEMPLATED BY TfflS CONTRACT. DsTSERT "N/A" FOR ANY WHICH ARE
         NOT APPROVED.

         BUYER NOTICE ADDRESS: SELLER NOTICE ADDRESS:

         Mailing Address: _______^__^___^__^_^_^______ Mailing Address:


         Buyer Fax#:___ _ Seller Fax#:
         Buyer E-mail: Seller E-mail:


         SELLING AGENT NOTICE ADDRESS: LISTING AGENT NOTICE ADDRESS:

         Firm Name: _ __ _ _ Firm Name:
         Acting as QBuyer's Agent Q Seller's (sub)Agent Q Dual Agent Acting as Q Seller's AgentQ Dual Agent
         Mailing Address: , Mailing Address:

        Individual Selling Agent: ___ _ Individual Listing Agent:
        D Acting as a Designated Dual Agent (check only if applicable) D Acting as a Designated Dual Agent (check only if applicable)
        License #:_______^^^^^^^^^^^^^^^ _ _ _ _ License #:.
         Selling Agent Phone#:_ Listing Agent Phone#:,
         Selling Agent Fax#:__ _ Listing Agent fax#:^
         Selling Agent E-mail: Listing Agent E-mail:



                                      ESCROW AGENT ACKNOWLEDGMENT of INITIAL EARNEST MONEY DEPOSIT

        Property:

        Seller: Allure Homes, LLC


        Buyer: Marcus &AlisaHaU


        Escrow Agent acknowledges receipt of the Initial Earnest Money Deposit and agrees to hold and disburse the same in
        accordance with the terms hereof.



        Date _ Firm:_                                                                       By:L
                                                                                                           (Signature)




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                                                                                            EXHIBIT

                                           Allure"                                           A
                                            Homes
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                                           1124 Gunnison Place
                                            Raleigh, NC 27609
                                          Phone; 919-696-8500
                                           Fax: 919-645-9552
                                         www.allurehomesnc.com




                                     Plan Specifications
Buyer: Marcus & Alisa Hall

Address: 4913 Yadkin Road

Plan Designer: David Kenoyer - KDK Designs


Plan Description:
                             Heated         1st Floor            2421
                                            2nd Floor            1083
                                            Basement             1307
                                            Total                4811
                             Other          Garages              871
                                            Porches              789
                                            Basement             807
                             Total                               7278


         o 2 Story
         o 3 car Garage
         o 5 Bedroom
         o 4.5 Baths


Site Work/Grading & Clearing
         o Homeowner and Builder to agree upon clearing limits. After initial clearing the request and
            removal of additional trees will be at the expense of the buyer.
         o Final grade lot prior to landscaping




         Page 1 of 10                                              Homeowner Initial


                                                                    Contractor Initial

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                                              1124 Gunnison Place
                                               Raleigh, NC 27609
                                             Phone: 919-696-8500
                                              Fax: 919-645-9552
                                            wwvv.allurehomesnc.com




Concrete Drives & Walkways - Circle Driveway per Plot Plan
           o Basic Concrete - 4" thick, 3000 psi
           o Trawled Expansion Joints
           o Colored or stamped concrete and /or accents can be priced
           o Single Car Garage Entry to Patio Area - Broom Finished Concrete - -4' wide
           o Driveway to Garage: Broom Finished Concrete
           o Front Walk: Broom Finished Concrete
           o Circle Driveway: Broom Finished Concrete


Footings
           o Foundation to be poured wall basement per plans
           o Footing excavation will be to bearing soil or as required by soil engineer
           o Excessive footing costs: In the rare event that existing soil conditions require additional
              excavation beyond a maximum average depth of 2' from the existing grade to the top of the
               footing, builder will notify buyer as condition is discovered and buyer shall pay additional
              labor and material expenses in accordance with change order procedure.
           o Non-standard footing excavations such as rock or underground springs shall be billed at an
               additional cost to the buyer.
           o Footings will be 3000 psi concrete.


Framing
           o The house will be framed per engineered plans using conventional methods.
           o All wood species, sizes and means of fastening will be provided and installed per codes and
              engineered plans.
           o Any wood members that are warped, weathered or otherwise judged to have lost structural
              integrity will be discarded at the discretion of builder
           o Wood members will go through a process of drying out which may result in warping or
              "crowning" after installation. This is natural and these members will be discarded only if
              interfering with wall coverings.
           o Floor sheathing to be %" AdvanTech® or equal. Sheathing to be glued and screwed to floor
              joist to maximize floor integrity
           o Wall sheathing to be 7/16" OSB covered in house wrap
           o Roofsheathing to be 7/16" OSB covered in #15 felt paper
           o First floor - Floor system to be i-joists from Boise Cascade




           Page 2 of 10                                              Homeowner Initial

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                                            1124 Gunnison Place
                                             Raleigh, NC 27609
                                            Phone: 919-696-8500
                                             Fax: 919-64S-9552
                                          www.allurehomesnc.com




Porch & Garage Flatwork Finish
         o All concrete slabs to be a minimum of 4" thick and 3000 psi concrete
         o Hairline cracks do appear in large span slab pours and are not considered a structural
            defect
         o Garage: Smooth finished, standard concrete
         o Lower Porch - Irregular Pennsylvania Flagstone
         o Front Porch & Steps - Irregular Pennsylvania Flagstone
         o Garage Steps - Masonry w/Flagstone treads
         o Driveways - Street to garage and circle driveway - Driveway is broom finished with
            trawled joints


Foundation/Masonry
         o Poured Concrete Basement Foundation
         o Foundation/Veneer Brick Type/Color - Oversized/TBD - $350/k allowance
         o Joint Type - Flush Joint
         o Brick all sides - Yes
         o Mortar Color - Grey
         o Sealed/Conditioned Crawl - N/A
         o Waterproofed and backfilled per code with drains
         o Interior garage foundation - Brick
         o Foundation height will be determined by code, Allure Homes & natural grade of lot. Allure
            Homes will exercise every effort to minimize the number of steps into your home.
            However, code & natural lot grade are the final determining factors.
         o Garage Steps - Brick w/stone treads

Exterior General
         o Gutters - Yes - 5" K-Style - Downspout drainage to edge of beds
         o Shutters - Vinyl with hinges and shutter hold backs
         o Architectural Shingles - 30 year product-Color TBD
         o Fiber Cement Siding - 6 1A" w/5" exposure
         o Fascia & Frieze boards to be Miratec Specific.....
         o Front & Rear & Lower Porch Ceilings: 1x6 T&G Pine - Can be painted or stained
         o Rear Porch Flooring Material - T&G Thermo-Treated Ash - Sanding and finish is optional
            ($1850 - will wait to see what floor looks like installed)




         Page 3 of 10 Homeowner Initial

                                                                  Contractor Initial

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                                             1124GunnisonPlace
                                             Raleigh, NC 27609
                                            Phone: 919-696-8500
                                             Fax; 919-645-9552
                                           www.allurehomesnc.com




Exterior Doors
          o Front Entry - Per plans - Stain Grade Mahogany
          o Mudroom Entry - Per plans - Stain Grade Mahogany
          o Garage Service Door - Fiberglass 2-Panel
          o Sitting Porch Door - Fiberglass - 8/0 Double Full Glass
          o Garage Door - 1-18x8 & 1-9x8 Cloplay Gallery Model GD5SV - Long Carriage Panel, Long
             Glass with Grilles and Decorative Hardware - Custom Overhead Door is our vendor
Windows
          o Ply-Gem Pro Series 200 Double Hung, Lo-E, Argon Gas Filled wood windows w/PVC no-rot
              exterior sill and brick-mould - SDL Grills Pattern per plans
          o No Screens


Interior General
          o 10' Ceilings 1st Floor
          o 9' Ceilings 2nd Floor
          o Choice of 7 Sherwin Williams Flat Latex Paint Colors
          o Any other brand and/or finish can be priced
          o Door Casing - FJ-445
          o Window Casing - FJ-445
          o Base board - 7 1A" MDF - 1st & 2nd Floor
          o Interior Hardware - Finish TBD
          o Crown Moulding -1 pc. 5 1A" Cove Profile Downstairs & Upstairs
          o Built in cabinets - Family room to each side of fireplace, Mudroom - Built on-site by
             Interior trim carpenter
          o 1x6 Pine on one wall in stair well - one story
          o Closets - Custom shelving. Mix of MDF and Finger Jointed Wood. Included is standard
             linear hanging in all closets, one sweater box per secondary closet & two sweater boxes per
             master closet. Final layout to be determined after drywall.
          o Drywall - I/T" on heated walls & ceilings - 5/8" Type "X" on garage ceiling
          o Garage Base Board - 71A" MDF
          o Garage Window & Door Casing - FJ-445
          o Interior stairs - Reclaimed Pine Tobacco Barn Floor Treads, painted pine risers, 6310 oak
              handrail, 2x2 painted balusters, 5" painted newel posts. Vision Stairway is our vendor




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                                             Allure
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Interior Doors/Hardware - $3,500 Hardware Allowance - Includes interior & exterior door
hardware
          o 1st floor - Masonite Solid Core, Smooth Face 8' - Style TBD by Buyer
          o 2nd floor - Masonite Solid Core, Smooth Pace 6'8" - Style TBD by Buyer
          o Barn doors downstairs are included -
          o Emtek hardware or similar
          o Guy C. Lee or Stock Building Supply is our vendor for doors

Paint
         o Choice of 7 Sherwin Williams flat latex interior wall colors
         o Ceilings are flat white
         o Choice of up to 2 Sherwin Williams exterior colors - siding to be flat and trim to be semi-
             gloss
         o Additional colors will be $350 per room
         o One trim color for entire house
         o Latex semi-gloss for trim
         o Latex flat for all wall and ceiling surfaces
         o Any other finish will include additional costs


Ceramic Tile - Already given $1,200 credit to offset upgraded porch ceilings
         o Field Tile - $6.50/sqft. - Straight run
         o Bull Nose - $5.00/lnft.
         o Backsplash - $6.00/sqft. - Includes back wall only. Not side walls under upper cabinets
         o Niches - Master shower & Down shower - 1 each. Additional $200 each
         o Soap Shelf - 1 each Upstairs secondary baths - Additional $7S each
         o Accents - $1500 allowance total house
         o Master shower ceiling - yes
         o Tub wall heights - 7' above finished flooring
         o Locations - Master Bath, Upstairs Secondary Baths, Basement Bath, Kitchen Backsplash &
             Rec Room Backsplash

Hardwoods
         o Species - Reclaimed Pine Tobacco Barn Flooring - Random Width Layout - Skip Planed
         o Finish - 3 coats polyurethane
         o Vents - Metal Surface Mount
         o Stairs - Matching hardwood treads & painted pine risers



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          o Locations - All heated first floor (except master bedroom, master bath and master closet),
             upstairs foyer/hallway area. Rec Room, Play room and Downstairs Stair Foyer Area.


Carpet
          o $19/sqyd allowance installed including pad
          o Includes pad
          o Locations - Master Bedroom & Closet, Upstairs Bedrooms, Basement Bedroom


Cabinets - $30,000 Allowance
          o Areas included - Kitchen, Laundry, all bath areas, Rec Room
          o Need clarification on what's wanted in Computer


Countertops - $12,500 Allowance
         o Level 1 granite in Kitchen
          o Remnants in all bath areas
          o Remnant in laundry

Plumbing - $14,266.87 fixture allowance - Includes all faucets, sinks, disposal,
            toilets & shower/tub fixtures selected by owners
          o Plumbed Per Code
          o 2 Tankless Gas Water Heaters w/recirculation pump
          o 3 Exterior Hose Bibs - 1 Hot & Cold Mixer
          o Bath hardware - $1000 Allowance Installed
          o Shower Doors - 3/8" Frameless Glass - Down bathroom, bath 3 and Master bathroom -
             $900 allowance each


HVAC/Energy Efficiency
          o 15 Seer Gas Furnace IstFioor
          o 15 Seer High Efficiency Heat Pump 2nd Floor
          o 15 Seer High Efficiency Heat Pump Basement
          o Duct type - external insulated
          o Thermostat - digital programmable
          o Bath fans - standard by code in all bath areas
          o Brand - Trane
          o Gas Line Locations - kitchen, family room fireplace [gas log starter), tankless water heater,
             porch fireplace, downstairs grill, kitchen range, porch fire place gas log starter
          o Hood Vent Dueling-Yes

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          o Certified - Live Green Certified
          o Insulation Per Code
          o INSULATION TO BE INCLUDED BETWEEN BASEMENT AND FIRST FLOOR
          o INSULATION TO BE INCLUDED 10 MASTER BEDROOM INTERIOR WALLS
          o TechShield® Radiant Barrier Roof Sheathing



Appliances - $32,300 allowance
          o Includes - Cooktop or Range, Oven, Microwave, Hood Vent, Dishwasher
          o Refrigerators are not included
          o Washers & dryers are not included

Electrical - $9,000 fixture allowance - Includes all mounted light fixtures,
            fans, cabinet lighting & doorbell. S dimmers are included. They can be installed at a
            price of $30 per location
          o House wired per code
          o 400 amp service
          o 2 floodlights - Buyer to choose locations
          o 60 recessed cans - Additional recessed cans over allowance are $100 each
          o Light switch type - Toggle
          o Switched receptacles - One per bedroom - Total of 5
          o Floor outlets - 2 in Family room
          o Fluorescent lights in closets
          o Loops for future use to be priced as additional
          o Generator Panel - to be priced as additional


Structured Wiring/Music/Security/Phone/Cable - $10,000 allowance
          o 42" Structured Wire Can - location TBD
          o Phone Module - 1
          o Video Module - 1
          o Multimedia Runs - 4
          o Surround Sound Prewire - Rec Room
          o Whole House Audio Prewire - 4 Rooms
          o Security System Pre-wire
          o No audio equipment is included
          o Whole house audio system [equipment] can be priced



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Mailbox: Rodney's Sign Company Style #3206

Other Allowances
          o $2,000 - Mirrors - Plate Glass is Standard
          o $20,000 - Landscape allowance



                                              Disclaimers
   1. Any finish other than flat paint on walls and semi-gloss paint on trim work will not be warranted.
   2. Builder reserves the right to change brands and materials as needed without notice.
   3. Any/all doors are only warranted by the manufacturer (a copy of the manufacturer's warranty can
      be provided per request). Allure Homes is not responsible for the installation or refinishing of any
      doors replaced as a result of a manufacturer's defect.
   4. For safety reasons, homeowners will not be permitted to visit the job site unless accompanied by
      the project manager. Site visits are by appointment only and subject to project manager's
      availability [builder reserves the right to limit onsite homeowner visits].
   5. All walk-throughs [electrical, mechanical, plumbing, AV, interior trim, etc) must be scheduled to
      start between the hours of Sam and 3pm Monday through Friday.
   6. The homeowner is not permitted to make construction scheduling decisions.
   7. Any/all clarifications OR changes to contract must be submitted to the Allure Homes' office for
      review, approval, and execution.
   8. Any/all instructions for subcontractors must come directly from an Allure Homes representative.
   9. Included in your sales price is an estimated 30-40 hours of time to consult with a professional
      designer to review the following areas;
          a. Interior Specifications:
                 i. Paint colors/finishes
                 ii. Cabinetry/millwork
                        1. -Style
                        2. - Color/finish
                        3. - Hardware
                iii. Countertops
                iv. Tile
                 v. Flooring
                        1. -Carpet
                        2. - Hardwood

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                       3. -Tile
              vi. Fixtures
                       1. - Electrical
                      2. - Plumbing
             vii. Appliances
            viii. Bath accessories
       b. Exterior Specifications:
               i. Paint colors
              ii. Brick/stone selection
             iii. Roof
                      1. Shingle color
                      2. Standing seam color
             iv. Windows [if applicable)
              v. Doors [if applicable] - Hardware
       c. Other Services;
               i. Initial meeting with each client prior to construction
              ii. Furniture layout
             iii. Electrical plan
             iv. Electrical walkthrough
              v. Perio di c s ite vis its
10. Tile & Stone:
       a. Natural Stone: Marbles, travertine, limestone and slates are susceptible to pits, veins,
          cracks, and color variations. Allure Homes cannot guarantee these features will not be
          present in these products if installed in the home,
      b. Porcelain & Ceramic Tiles: These products are created using raw materials, and many
          are produced to look like natural stone with a great range of color and less repeated
          patterns. These products do have dye lots which vary from lot to lot. Enough material will
          be ordered to cover the specified tile areas, but in the event of field changes that would
          require more material to be ordered, there could be variations in product.
       c. Handcrafted Tiles: These products will have variations in size, thickness and color. Some
          have a crackle finish which may require sealing. These products are made to be imperfect
          to create a unique look. For this reason, Allure Homes will not guarantee a uniform look
          when installing this product.
       d. Grout: Any stain-resistant grouts are material upgrades and may require additional labor
          which will also be considered an upgrade [not included in tile allowances)
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          e. Inspection of Material: Inspection of material is required. Installation of material
             constitutes acceptance.
          f. Returns: Returns are accepted in full, unopened cartons [unless sold by the piece or
             square foot), Re-stocking fess will be applied if a full order ofin-stock material is returned.
             Closeout or special order material cannot be returned.
          g. Allowances: All allowances are the Builder's estimates for any particular feature of the
             home and are set to be a starting point for pricing to the homeowner. For any particular
             feature of the home that has a specified allowance amount, the homeowner has that
             allowance amount to spend on that particular feature of the home. After pricing for the
             feature from the Builder's vendor[s) is obtained, any significant variance between the
             allowance amount and the homeowner pricing will be addressed [significance of variance
             to be determined by the Builder], A credit is due to the homeowner if the pricing is
             significantly less than the allowance, OR the homeowner will be responsible for the pricing
             average if the pricing significantly exceeds the allowance. Credits and/or overages will be
             documented on a change order. Credits will be apylied aaainst the total Sales Price for
             the home, and payment for overaae amounts is due upon homeowner acceptance of the
             feature and its average vrice.
          h. Handrails: Handrails only provided per code unless otherwise specified in plans and/or
             job specs

Sales Price - $1,041,000




Signed:
  (Builder)
            _Date:

Signed:
  [Buyer]
          _Date:

Signed:
  (Buyer)
          _Date:
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                    CHRONOLOGY OF MOLD DISCOVERY AND REMEDIATION



6/23/14              See Offer to Purchase and Contract - New Construction.

                     Executed by Marcus and Alisa on 6/12/14 and Paul Baggett on behalf of Allure
                     Homes, LLC on 6/23/14. Purchase price of $1,041,000.

                     Section 3(a): Quality of Construction requires that the Seller construct the home
                     (1) in accordance with all specifications and plans, (2) in compliance with all
                     laws, regulations, codes, and ordinances, and (3) in a good and workmanlike
                     manner.


                     See SIGNED Plan Specifications and Final Schematics from Architect.

                     Allure Homes, LLC subcontracted with Carolina Comfort Air for HVAC work.
                     There are no schematics for how the HVAC system will be installed.

                     There are three air handling units. In the Lower Level there is a 1.5 ton unit
                     serving the Lower Level and a 3 ton unit serving the First Floor. In the high attic
                     there is a 1.5 ton unit serving the Second Floor. All three units are manufactured
                     by Trane. They each have an attached supply air distribution box that is
                     internally lined with fiberglass insulation attached to the unit.

                     Flex duct runs from the air handling units to individual room or area grilles. The
                     First Floor unit has a secondary distribution box that is internally lined. The
                     Second Floor unit has an outdoor air inlet flex duct attached to the return side
                     of the air handler.

                     The air handling components that exhaust air from the house include exhaust
                     fans in each of the four full bathrooms, a clothes dryer vent, two fireplaces and
                     a commercial grade range hood in the kitchen.

                     The kitchen package was assembled by Kitchen & Bath Galleries ("Kitchen &
                     Bath"). Marcus and Alisa worked with the owner of Kitchen & Bath to make the
                     selections. The range hood was selected to service the large Wolf range. It was
                     included in the contract with Allure homes for the construction of the home.
                     Kitchen & Bath delivered the package to the home. Upon information and
                     belief, the range hood was installed by Carolina Comfort and Air as HVAC
                     subcontractor to Allure Homes.

4/2/15               See HUD-1.

                     Settlement Statement signed by all parties.

4/4/15               Alisa and Marcus move into 4913 Yadkin Drive with their three children
                     Addison, Ainsley, and Brayden. Alisa was 33 years old. Addison was 6 years old;
                     Ainsley was 4 years old; and Brayden was 2 years old.

                     Before this, Alisa and the children had no significant medical history.



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                 The master bedroom occupied by Alisa and Marcus was on the first floor. The
                  bedrooms occupied by the children were on the second floor of the home. Alisa
                  was not employed outside the home and spent more time in the home than any
                  other family member.

                  Marcus rose earlier than the rest of the family and would run the range hood
                 each morning for up to two hours, to prevent smells from the kitchen making
                 their way to the master bedroom where Alisa was still asleep.

12/1/16          See Newcomb Maintenance Records.

                  Newcomb performs bi-annual maintenance. No abnormalities noted.

12/19/17         See Newcpmb Maintenance Records.

                 Newcomb performs bi-annual maintenance. No abnormalities noted.

6/25/18          See Newcomb Maintenance Records.

                 Newcomb performs bi-annual maintenance. Noted that everything was running
                 properly.

8/28/18          See Newcomb Maintenance Records.

                 Newcomb service call due to musty smell. Fresh air damper found open.
                 Manually closed. Recommended to replace damper motor.

9/27/18          See Newcomb Maintenance Records.

                 Newcomb service call. Replaced bad damper motor.

10/8/18          See 10/8/18 Home Air Check Indoor Air Quality Report.


                 Marcus collected samples himself from basement, kid's hallway, and family
                 room. This was done after Dr. Frances Meredith sent Alisa for labwork to test
                 for mycotoxins upon suspicion of mold. All home-testing reports came back as
                 either elevated or severe.


10/28/18         The Hall family moves out of 4913 Yadkin Drive and in with the parents of
                 Marcus Hall.


10/29/18         See 10/29/18 Mold Spare Trap Report for Testing by Healthy Home
                 Restoration.


                 Samples taken from outside, the finished basement, and the living room.
                 Outside: Aspergillus/Penicillium at 27 spares per cubic meter. Basement:
                 Aspergillus/Penicillium at 107 spares per cubic meter. Living Room:
                 Aspergillus/Penicillium at 360 spares per cubic meter.




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10/30/18          See Curriculum Vitae for Bob Herrick.


                  Marcus and Alisa hired Bob Herrick ("Mr. Herrick"), an environmental engineer,
                  to investigate mold.


11/4/18           Mr. Herrick collects 3 spore trap mold-in-air samples: center bedroom upstairs,
                 west attic, and outdoor for reference.


                  Mr. Herrick meets with Mark Roberts of MARS Heating and Air of Sanford, NC.
                  Mr. Roberts established MARS in 2002. He holds a Mechanical H-3-1 License
                 with the State of North Carolina (#24251) and an Associate Degree in Applied
                 Science for Heating, Ventilation, and Air Conditioning.


                  Mr. Roberts disconnected one of the branch supply flex hoses in the attic and
                  noted a heavy presence of mold on the surface of the insulation liner of the
                 unit. He suspected that the air velocity in the unit was high enough to strip
                 water droplets off the coil. These droplets were captured on the fiberglass
                 insulation lining the supply distribution box.

                 See 11/6/18 Mold Spare Trap Report of Mr. Herrick's Testing Prepared by
                 Eurofins.


                 Outdoor spare count of 238 for Aspergillus/Penicillium. Center Bedroom spare
                 count of 8125 for Aspergillus/Penicillium. West attic spare count of 613 for
                 Aspergillus/Penicillium.


11/15/18         HVAC systems turned off.


11/17/18         Mark Roberts of MARS Heating and Air met Marcus and Mr. Herrick at the
                 home. All three air handling units found to have heavy presence of mold on the
                 surface of the insulation inside the supply duct, after the coil.


11/18/18         Recommendation from Mr. Herrickto (1) obtain specifications for HVAC system,
                 and (2) take HVAC units out of service until they can be modified to be in
                 conformity with acceptable standards.




11/20/18         See 11/20/18 Mold Bulk Report prepared by Eurofins (118-36671.


                 Mold growth ratings as follows: Basement (4 for fungal mycelial fragments);
                 Second Floor 2a (5 for Aspergillus/Penicillium and 3 for fungal mycelial
                 fragments); and Second Floor 2b (3 for Aspergillus/Penicillium and 2 for fungal
                 mycelial fragments).


11/27/18         Mr. Herrick collected spare trap air sample in a candidate furnished rental home at 200
                 Penley Circle in Raleigh, NC. This sample showed an absence of both
                 Aspergillus/Penicillium and Cladosporium.




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11/30/18             See Curriculum Vitae of Frank Tyndall.

                     EGH retained Frank Tyndall to provide expert services to EGH and to the Halls in
                    the field of mechanical engineering.


12/1/18             See 200 Penlev Circle Lease.


                     Lease commences for 200 Penley Circle in Raleigh, NC. Rent is $3,045 per
                     month. Marcus and Alisa are responsible for all utilities. The Hall family moved
                     into this location.


12/7/18             See 12/7/18 Surface Sample Log.


                     Mr. Herrick collects samples by tape lift from the basement, first floor, and
                    second floor.


12/8/18             See 12/8/18 Mold Bulk Report prepared by Eurofins (118-3951B).


                    7 of the 27 samples taken by Mr. Herrick result in a 0 mold growth rating; and
                    20 of the 27 samples resulted in a 1 mold growth rating. 0 indicates no fungal
                    matter detected. 1 indicates trace amounts offungal matter detected, probably
                    due to settling, does not indicate active mold growth.


                    The observations and the data suggest to Mr. Herrick that active mold growth in
                    the house may be localized in the HVAC system air handlers and ductwork in the
                    HVAC systems.


1/5/19              Mr. Herrick collects samples from each room with wall-to-wall carpeting by
                    using a vacuum cleaner with a filter for takeup.


1/9/19              See 1/9/19 Analytical Results prepared by EMSL Analytical (611900029).


                    EMRI Value of 15.5 and Level 4, which indicates High Relative Moldiness.


2/1/19              Mr. Herrick performs bump testing of the air handling units and takes
                    measurements of the pressure differential between the house and outside. The
                    pressure ranged from neutral to negative 4.5 Pascal (0.018 inches of water) as
                    the several elements of the system were operated.

4/19/19            Cleanup and Restoration Plan developed by Mr. Herrick and Mr. Tyndall. Phases
                   of the Cleanup and Restoration Plan include:

                    1. Remove items from home
                   2. Clean Air ducts and install HVAC Equipment
                   3. Final Cleaning of interiors
                   4. Clearance Testing




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                    Phase (2) includes:

                    Remove the mixing boxes on each floor having inside insulation and dispose of
                    mold-contaminated insulation. Remove the air handling units on each floor and
                    steam clean the condenser coils and connected metal ductwork.

                    Remove and replace the mold-contaminated flexible ductwork on the second
                    floor and replace it with new flexible ductwork.

                    Professionally clean all runs of flexible ductwork serving the ground and first
                    floors by starting at each air discharging point and brush vacuuming in the
                    opposite direction of air flow to each mixing box connection.

                    Vacuum cleaning equipment is to be provided with HEPA filtering to trap mold
                    spares and test to demonstrate successful removal of mold spares from cleaned
                    air ducts.

                    Install two new humidification units on the first and second floor HVAC systems.

                    Install new UV light systems for treatment in each of the three air handler units.

                    Install a new air handler system to provide conditioned air in an amount
                    necessary to balance cooktop ventilation exhaust and other previously installed
                    exhaust fans.

5/3/19              Mr. Herrick meets three representatives of Carolina Comfort Air at 4913 Yadkin
                    to allow these individuals to perform a visual inspection of the HVAC systems.

5/8/19              Mr. Tyndall meets with representatives, counsel, and expert witnesses for Allure
                    Homes to allow these individuals to perform a visual inspection of the HVAC
                    systems.


                    See 5/9/19 Mold Bulk Report (Allure) and 5/9/19 Mold Spare Trap Report
                    (Allure).

                    Samples collected by Mr. Herrick. Bulk Report finds mold growth ratings of 4 or 5
                    in Attic - Supply side insulation. Basement - AHU Duct WAD at coil, and
                    Basement-AHU Supply Side Insulation. Remaining areas have mold growth
                    ratings of 0-2.

5/18/19-5/19/19     Marcus and Mr. Herrick, with Alisa attending by telephone, sort and mark
                    household furnishings and personal belongings for either disposal or cleaning
                    and restoration.

5/20/19             White Glove Cleaning performs a pack-out of the contents of 4913 Yadkin Drive.

5/21/19             Mr. Tyndall meets with representatives and counsel for FCCI, who insures
                    Carolina Comfort Air, performed a visual inspection of 4913 Yadkin Drive.




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5/28/19          See 5/28/19 Brothers Cleaning Invoice.

                 Invoice for $1,646.74 for garment and textile cleaning and restoration.

5/30/19          Mr. Tyndall meets representatives of Allure Homes, Carolina Comfort Air, and
                 Newcomb at 4913 Yadkin Drive for operation of the HVAC systems.

6/29/19          See 11/27/19 Invoice from Enpuricon and 11/25/19 White Glove Cleaning
                 Invoice.


                 Enpuricon removes attic ductwork and cleans the in-place ducts of the first and
                 lower level. The cost of this work was $3,162.00.


                 White Glove performs the pack-out of the home. The cost of this work was
                 $2,591.16.


7/18/19          See 7/15/19 Weathermaster Work Order.

                 WeatherMaster meets Mr. Tyndall at 4913 Yadkin to perform the following:
                 refurbish three Trane air handling systems, replace lined insulation distribution
                 boxes with wrapped insulation, replace previously removed original flex ducts on
                 the second floor with seven drops, and install UV lights in the three existing
                 systems. Invoice for $4,952.00.

                 See WeatherMaster Recommendation.

                 Roger Richardson ofWeatherMaster recommends changing all three units,
                 because cleaning would be an extensive process that would not guarantee
                 growth would not return.

7/22/19          Weathermaster Inc. conducts repairs to the three air handling units and selected
                 ductwork.

9/11/19          Installation of three new HVAC units by WeatherMaster. Cost of $31,070.00.

9/19/19          See 9/19/19 Mold Spare Trap Report prepared bv Eurofins.

                 Aspergillus/Penicillium spore count acceptable on all three levels. Only matter of
                 concern is the higher level of Basidiospores (a marker for outdoor air) on the
                 Second floor, which indicated that the attic air was likely being sucked into the
                 second floor AHU.

                 See also 9/2019 Monitor Basement of Yadkin and 9/2019 Monitor Lower Level
                 pfYadkjn.

                 Both show VOCs steadily declining, which suggests no future jump is expected.

                 See Summary Table of Mold Spare Count (9/2019 - 10/2018).




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10/18/19         See 10/18/19 Enpuricon Proposal for Remediation and Cleaning.

                 Remediation scope includes:


                 Contain each floor and place under negative pressure using HEPA filtered air
                 scrubbers.
                 HEPA vacuum and clean all surfaces using an antimicrobial cleaning solution.
                 Run HEPA filtered air scrubbers in space to achieve 100 air exchanges

                 Cost of remediation and cleaning estimated at $19,710.00. Marcus and Alisa, in
                 consultation with Mr. Herrick, opted not to move forward with this proposal and
                 to instead test each floor individually.

11/1/19          See 11/5/19 White Glove Cleaning Invoice.


                 White Glove cleans all contents inside 4913 Yadkin including items in cabinets,
                 piano, TVs, pictures on walls, and exercise equipment. The cost of this work was
                 $4,107.31.


11/11/19         See 12/3/19 Invoice from Enpuricon.

                 Enpuricon installs isolation barriers in the stair well so that the house has three
                 separate spaces to treat. They then perform a fine cleaning of the walls and
                 floors of the second floor. The cost of this was $1,163.86.


11/14/19         Mr. Herrick collects air samples from the basement and first floor. Mr. Herrick is
                 unable to collect air samples from the second floor, because someone had set
                 the thermostat to cool, which meant the unit had not operated for an
                 indeterminate number of days,


11/15/19         See 11/15/19 Mold Spare Trap Report.

                 The results show that very low spare counts have been achieved on the
                 basement and first floor levels.


12/1/19          Marcus and Alisa extend their lease for 200 Penley Circle by six months.


12/5/19          See Wind Rose Construction Invoice.


                 Wind Rose Construction installs weather stripping. The cost of this work was
                 $200.00.


12/26/19         See 2/3/20 Invoice from Enpuricon.

                 Enpuricon performs fine-cleaning of second floor of home. The cost of this was
                 $4,628.35.




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12/30/19            See 12/30/19 Mold Spare Trap Reports.

                    Samples collected by Mr. Herrick. Results indicate that all three floors of this
                    house meet the IICRC definition of a Category I condition, which is the
                    industry standard for determination of successful mold remediation.

                    Condition 1 (normal fungal ecology): an indoor environment that may have
                    settled spares, fungal fragments or traces of actual growth whose identity/
                    location, and quantity are reflective of a normal fungal ecology for a similar
                    indoor environment.

1/5/20              See 1/25/19 Receipt from J. Parker Builders.

                    J. Parker replaces the carpet in the home. The cost of this work was $1,568.00.

1/6/20              See 1/6/20 Mold Spare Trap Report.

                    Samples collected by Mr. Herrick from the porch, master bedroom, upstairs
                    bedroom, kitchen, and basement. All areas within normal range, except the
                    basement. Outdoor air contained 13091 Basidiospores per cubic meter.
                    Basement contained 15030 Basidiospores per cubic meter.

1/10/20             See Invoice from Roman Bautista.

                    Roman Bautista Painting repaints the home. The cost of this work was
                    $4,720.00.

1/27/20             North State Wood Products refinishes wood floors in Yadkin. The cost of this was
                    $6,527.94.

2/14/20             See 2/17/20 Mold Spare Trap Report.

                    Samples collected by Mr. Herrick. The three air samples collected before the
                    range hood/supply air system was activated look like a fully satisfactory mold
                    profile from a non-problem residence. Then the range/supply air system was
                    activated for a half hour before retesting. The second lower level air sample
                    showed elevated levels ofAspergillus/Penicillium. The source was believed to be
                    the ice maker, and Mr. Herrick recommended a cleaning of the ice maker to
                    achieve fully satisfactory air quality.

2/18/20             Mr. Herrick and Mr. Tyndall clean the ice machine.

2/19/20             See 2/20/20 Mold Spare Trap Report.

                    Samples collected by Mr. Herrick. The lower level now exhibits an acceptable
                    reading.

3/3/20             See 3/4/20 Mold Spare Trap Report.

                   Samples collected by Mr. Herrick from outside and all three floors of the home.
                   All indoors samples within the acceptable range.




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3/6/20             See 3/6/20 Mold Spare Trap Report.

                   Samples collected by Mr. Herrick of all three floors and outside. These results
                   supported the determination that the house was now at IICRC Condition 1 status,
                   which was the objective of mold remediation.

                   The Institute of Inspection Cleaning Restoration Certification ("IICRC") defines
                   Condition 1 status as:

                   Condition 1 (normal fungal ecology): an indoor environment that may have
                   settled spares, fungal fragments or traces of actual growth whose identity,
                   location and quantity are reflective of a normal fungal ecology for a similar indoor
                   environment.




6/8/20             See 6/9/20 Mold Spare Trap Report.

                   Samples collected by Mr. Herrick of seven areas within the three floors of the
                   home and the outdoors. All counts were within the acceptable range, with the
                   exception of the area at entry to the range hood in the kitchen. This area saw a
                   slightly elevated Basidiospore count compared to all other areas.

6/11/20            See 6/11/20 Mold Spare Trap Report.

                   Samples collected by Mr. Herrick of makeup air at the range hood indicated
                   elevated Basidiospore counts and thus what the 6/9/20 Results were attributable
                   to. This was believed to be anomaly on test results.

6/15/20            See 6/15/20 Mold Spore Trap Report.

                   Test results considered acceptable.

7/1/20             The Halls move back in to 4913 Yadkin Drive.




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                                                                                                            EXHIBIT

                                                                                                                  ^
                     EVE RE T T GA SKINS H A N C 0 C K LLP
                                        Attorneys and Counselors at Law




                                                                                            E.D. Gaskins, Jr.
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                                             August 19,2020

                                           SENT VIA E-MAIL




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              Re: Our Clients: Marcus and Alisa Hall
                   Residence: 4913 Yadkin Drive
                                  Raleigh, North Carolina

Dear John, Lamar, and Jim:


      As you know, our firm represents Marcus and Alisa Hall. In June of 2014, Marcus
and AUsa contracted with Allure Homes, LLC [Allure"] for the construction of a new home
at 4913 Yadldn Drive in Raleigh, North Carolina. Allure then sub-contracted with Carolina
Comfort Air, LLC ["CCA"] for design and installation of the HVAC systems. Newcomb and


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Company ("Newcomb") performed bi-annual maintenance on the HVAC systems after
Marcus and Alisa moved in.


       IVIold growth due to design flaws in the HVAC systems has caused Marcus and Alisa
to incur extensive costs of remediation and caused Alisa to suffer what may now be
permanent cognitive dysfunction. We believe the facts as outlined herein reflect that the
negligence and breaches of contract by each. of your clients have combined to cause physical
harm to Alisa and significant financial loss to Marcus and Alisa.

                                    Statement of Facts

       Marcus and Alisa and their three children aged two, four and six years old moved
into 4913 Yadldn Drive in April of 2015. Alisa was thirty-three years old at the time. She
was not then employed outside the home and thus spent more time in the home than any
other member of the family.


       Within three months of moving in, Alisa began to experience symptoms of fatigue,
insomnia, weight gain, and impaired memory and concentration. In September of 2015,
Alisa began a three year journey of medical appointment followed by medical appointment
as doctors struggled to diagnose her ever-worsening symptoms. Alisa received referrals to
endocrinologists, cardiologists, oncologists, neurologists, and psychologists. A timeline of
Alisa's medical treatment is provided herein.


       FinaUy in October of 2018, an integrative medicine specialist began to suspect mold
toxins as the cause ofAlisa's symptoms and referred Alisa for mycotoxin testing. Lab
results showed AUsa had 6.43 ng of Ochratoxin A per gram of creatine in her urine. The
common range for positive results is 1.2 - 5 ng/g. Ochratoxin A is the toxin produced by
Aspergillus/Penicillium mold. Please see www.globalindoorhealthnetwork.com/ochratoxin
and littps://www.ncbi.nlm.nili.gov/pmc/articles/PMC3255309/ for articles on Ochratoxin and
its adverse health effects.


       Following these positive test results, M.arcus and Alisa retained environmental
engineer Bob Herrick to test their home for mold. Mr. Herrick obtained test results in
November of 2018 that showed 8,000 Aspergillus/PeniciUium spares per cubic meter in the
second floor East Bedroom; 6,603 AspergiUus/Penicillium spares per cubic meter in the
second floor Southwest Bedroom; and 2920 Aspergillus/Penicillium. spares per cubic meter
in the first floor kitchen and living room. The outdoor spare count was 238
Aspergillus/Penicillium spares per cubic meter. The indoor spare counts compared with the
outdoor spare count confirmed the presence of significant, actively growing
Aspergillus/Penicillium mold in the Hall family's home.

       At the recommendation ofAlisa's medical providers, AIarcus andAlisa and the
children moved out of 4913 Yadkin Drive and began to lease a townhouse at 200 Penley
Circle in Raleigh on December 1, 2018. Marcus and Alisa continuously rented 200 Penley
Circle through June 30, 2020, while they attempted to have 4913 Yadkin Drive remediated.
Mechanical Engineer Frank Tyndall worked with Mr. Herrick to identify the source of the
active mold growth and to develop a plan for remediation, after they had determined the
cause of mold growth in the newly constructed home. The cause is discussed in greater




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detail below but was primarily a failure to correctly design a make-up air system, which
failure resulted in creating negative air pressure in the home. Negative air pressure sucks
moist outside air into the home, in this case, in quantities that the HVAC systems could not
handle. The diagnosis and remediation of this problem occurred in phases and is outlined in
the House Chronology provided herein. Remediation began in May of 2019 and has
continued to date. In July 2020, clearance testing showed the mold spare counts in the
home are now at acceptable and safe levels for Alisa, and the Hall family has now moved
back into the home.


       In March of 2019, Alisa had also tested positive for Lyme Disease. Unfortunately for
Alisa, mold toxicity and Lyme disease often coexist as both impact the immune system and
can cause chronic fatigue and adverse neurological symptoms, as happened to Alisa. See
 Four Lyme Experts Share About Mold, a Common Lyme Disease Co-Condition located at
https://www.prohealth.com/librarv/four-lvme-exuerts-sliare-about-mold-a-common-lyme-
disease-co-condition-
47906#:~:text=0ne%20ofyo20the%201east%20recoemzed,at%201iome%20or%20at%20work.
This also helps explain why Alisa has been more significantly impacted by exposure to mold
than any other member of her family.


       Alisa treated with Dr. Sonia Rapaport of Haven Medical, as weU as numerous
others. Dr. Rapaport specializes in treatment of patients with biotoxin exposure and Lyme
disease with chronic fatigue resulting from chronic inflammatory response syndrome
(CIRS). Alisa still struggles with fatigue and neurocognitive dysfunction. The permanency
of her condition is not yet known.


                          Clajm Against Carolina Comfort Air

       The source of the mold growing in the Hall family s home was the HVAC systems,
particularly the system serving the second floor. There are three heating/cooling systems
serving the home. The air handling units serving the first floor and basement are located
in the basement. The air handling unit serving the second floor where the children s
bedrooms are located is in the attic. As explained below, the failure to compensate for the
high-volume kitchen exhaust fan and to test the home for pressure balance resulted in
negative pressure in the Hall family s home relative to the outside. The negative air
pressure drew large quantities of moist, unconditioned air into the home, particularly into
the attic air handling unit. Unconditioned humid outside air caused condensation on cooler
surfaces in the mixing boxes and distribution centers that promoted mold growth,
particularly in the attic unit. Moist, unconditioned outside air was drawn into the home as
a result of negative pressure and mold spares from the active mold growing in the attic unit
were circulated throughout the home during the operation of the HVAC systems and led to
active mold growth in the mixing boxes and distribution boxes of the two air handling units
located in the basement as well.


       The most significant factor creating the negative pressure in the Hall family's home
was the Idtchen exhaust hood system. To ensure a properly balanced home (as opposed to
one with negative pressure), the 2012 North Carolina Mechanical Code (Section 505.2)
requires makeup air at a rate approximately equal to the volume of air being exhausted




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from the home, including the kitchen exhaust system (typically 400 CFM). However, the
Hall family s home vent hood exhausted air at a much higher rate than 400 CFM. The
Allure contract caUs for a hood vent (see Plan Specifications, Appliances), but does not
indicate type or capacity. The hood vent installed in the Hall family s home is a Vent-A-
Hood system which exhausts 1200 CFM when fully engaged. The volume of makeup air
required by code to balance the HVAC systems in the Hall family's home, including the
kitchen vent hood, was not provided.


       Carolina Comfort Air ("CCA") was the HVAC subcontractor to Allure for the Hall
family's home. CCA ordered and installed the Vent-A-Hood exhaust system as well as the
three Trane HVAG heating/cooling systems serving the home. Thus the negative air
pressure created by the large exhaust volume Vent-A-Hood should have been assessed and
dealt with appropriately by CCA as the HVAC subcontractor.


        Air Conditioning Contractors of America [ACCA"] outlines the standard
procedures that have generally been adopted for design, installation, maintenance, repair,
and testing for residential HVAC systems. The HVAC contractor is responsible for
measuring airflow and static pressures with all air exhaust equipment operating. The
HVAC contractor should then provide evidence of documented field measurements and
calculations recorded on a new system start-up sheet to show that the calculations have
been made and the home is properly balanced.


       It is apparent that CCA did not measure, or did not properly measure, airflow and
static pressures, nor record them. Had CCA done such calculations properly, CCA would
have determined that the home was under negative air pressure when the vent hood
system was operating. According to ACCA, where negative air pressure in the home is
observed, adjustments are necessary, then the required testing is to be re-performed and
recorded on updated documents until balance is achieved and negative pressure is
eliminated.


        Apparently CCA determined there was some balance issue as it installed a
Honeywell fresh air damper system in the attic to provide makeup air. The Allure contract
did not specifically call for a damper and CCA did not install dampers in the other two
HVAC units located in the basement nor in the kitchen vent hood. Further, adding this
Honeywell damper to the Trane HVAC system in the attic was not only not caUed for in the
plans, but was not in accordance with Trane specifi.cations and did not compensate for the
make-up air required for the vent hood in the kitchen located on the first floor.


        CCA made at least two additional errors in installing this damper. First the
damper it installed could not provide a sufficient volume of air to make up for the air being
exhausted by the three HVAC heating/cooling systems and the kitchen exhaust system.
This resulted in moist, unconditioned outside air being sucked into the home from any
opening to the outside when the vent hood system was operating. Second, the amount of
outside air the damper did provide to the attic unit overwhelmed the capacity of the attic




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unit to cool and dehumidify it. This resulted in mold growth in the mixing box and
distribution center of the attic unit. To condition this volume of outside air would have
required supplemental conditioning greater than the capacity of the attic unit.


       CCA should have provided sufficient make-up air directly to the vent hood which
would have then exhausted the unconditioned air without circulating it through the home
and without creating negative pressure.


      To summarize, CCAwas negligent in its design and construction of the HVAC
systems of the Hall family's home in at least the following ways:

           • CCA failed to correctly include sufficient make-up air for the proper and safe
              operation of three heating/cooling systems and the large volume kitchen vent
              hood exhaust in the home.
           • CCA failed to properly measure and test to determine the pressure in the
              home with all the systems operating and to properly balance the home to
              eliminate negative pressure.
           • CCA failed to install the proper makeup air system to compensate for the
              operation of the kitchen vent hood.


                                  Claim Against Allure


       Although CCA as the HVAC subcontractor for the home was responsible for the
design and installation of the HVAC systems and vent hood, Allure as general contractor
was responsible for the means and methods of construction of all of its subcontractors. The
contract with Marcus and Alisa required AUure to construct the HaU family's home: (1) in
accordance with the plans and specifications; (2) in accordance with all applicable
regulations, codes and ordinances; and (3) in a good and workmanlilce manner.


       Allure as the general contractor is contractually responsible to Marcus and Alisa for
aU its subcontractors. That includes responsibility for the interpretation and understanding
of the HVAC design and instaUation to ensure that the HaU family's home was being built
by CCA in compliance with the plans and specifications applicable to the HVAC systems
and kitchen ventilation system; in compliance with aU. applicable codes and regulations;
and in a good and workmanlike manner.


       Allure as a licensed North Carolina general contractor is or should have been
knowledgeable of the code requirement for makeup air needed for the high volume Vent-A-
Hood kitchen exhaust system. Allure should have been aware of the vent hood system
ordered and installed by CCA and the resulting obligation to ensure that the code
requirement for makeup air was satisfied. Allure should have required that CCA test the
HVAC systems and vent hood to determine whether the home was balanced with the vent
hood operating at full capacity. Allure should have been aware of the damper system, in the
attic and its inadequacy to compensate for the high volume vent hood in the Idtchen. Had




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Allure performed its contractual duties, it would have learned that the CCA design did not
provide the makeup air required by the 2012 NC Mechanical Code nor had CCA tested to
insure balance.


       For the reasons stated above, AUure breached its contract with Marcus and Alisa to
construct the Hall family s home in compliance with the plans and specifications; in
compliance with all applicable laws, regulations, codes and ordinances; and in a good and
workmanlike manner.


                                                Claim Against Newcomb


       ACCA has also promulgated standards for the maintenance of residential HVAC air
distribution systems (Checklist 5. Id) which includes inspection of accessible ductwork for
areas of moisture accumulation or biological growth.


                                                Checklist 5.1 Air Distribution System
                  #     Inspection Task                             Rccoinmcndcd Corrective Actions
                                                                    Clean or replace filters il'aiicumuliiiion resulls in PD
                        inspect fof pariiculaic accumulaiion
                  ill                                               higher than design or ifairflow is outside of established
                        on filters,
                                                                    operating liittita.
                        (n-speci uir filter housing inlegrity and   Correct as needed.
                  I).
                        air seal.
                        Inspect grilles, registers, difFuscrs,      Cloan as nci-'dN.
                  c.    and Irunk/branch balancing ddtnpcra
                        for dirt accumulation,
                        Inspect all accessibte duclwork for         Instult ncccss daore as needod, Clean or replace as
                  d.    areas of moisture uciitimulalion or         needed,
                        bioiogical growtlt,
                                                                    Repair ductwork insulation and associaicil exterior vapor
                        inspect integrity of all uecessible
                  c.                                                relardcre and repair all Bcccssiblo rips, voids to insulation
                        duciwark iitsulation.
                                                                    adhesives nniVor (apes.
                        Inspect the iniegrily of all accossiblo     Note improper alteralionsi, straps, air leaks, and failing
                  f.    ijuctwork iiioludmg; (Iufrt slnip|rii>g,    (iuut tapes or mastfcs, R$|iair, seal, rcpliict; as itccessary,
                        liiiniicK, sections, joints, and seams.



       During annual maintenance visits in 2016, 2017, and 2018, Newcomb apparently did
not inspect accessible ductwork. IVtold growth in the mixing boxes and distribution centers
of all three units was obvious in 2018. Laboratory testing proved the mold to be
Aspergillus/PeniciUium. Proper inspections even in 2015 after a year of operation would
have revealed the presence of excessive moisture and mold on the surfaces of the insulated
air handler supply boxes, particularly in the attic. Or ifNewcomb did properly inspect the
accessible ductwork and air handler supply boxes, Newcomb failed to disclose to Marcus
and AMsa the presence of excessive moisture and mold growth as it should have done.


       Had Newcomb properly performed its maintenance duties and reported the presence
of mold to Marcus and Alisa, the problem could have been remedied in late 2016 rather
than late 2018, saving substantial medical expenses for Alisa, two years of suffering and
anguish, and possibly eliminating the permanency of her injuries. In addition, the nature
and extent of the remediation of the home could have been reduced.




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                                          Damages


       Paid medical expenses for Alisa include $94,498.50 for medical providers and
$14,475.38 for medications and recommended supplements. Marcus will also have a
personal injury claim although not nearly as extensive as Alisa's. Related records and bills
wiU be provided upon receipt.


       Marcus and Alisa have paid $3,045 per month for the lease at 200 Penley Circle
since December 1, 2018. To date, they have paid $57,855. In addition to the lease amount
for 200 Penley Circle, Marcus and Alisa have had to pay utilities for the leased residence.
Utility bills from December, 2018 to December, 2019 have amounted to $4,068.13.
Incidental household purchases documented in a spreadsheet included herein total
$12,761.22. This does not fully account for the belongings that the HaUs will need to
replace, as they have not yet redecorated and replaced much of their furniture due to the
Penley Circle residence being furnished. The HaUs have estimated the cost of furnishings
and personal belongings that were lost. A spreadsheet documenting these estimates is
included herein. The approximate value of all belongings was $87,744.


       Remediation costs have included the services of Bob Herrick, Enpuricon, Brothers
Cleaning, Weathermaster, White Glove, Wind Ease Construction, J Park Builders, Roman
Buatista Painting, and North State Wood Products. Bob Herrick has invoiced IVCarcus and
Alisa $74,405.00 for his services. Frank TyndaU has invoiced Marcus and Alisa $17,250.00
for his services. The remaining contractors have invoiced a total of $71,096.30. Copies of
all invoices are provided.


       Special damages therefore total $442,657.19. This does not take into account the
physical pain and mental suffering, both past and future, that is a part ofAlisa's personal
injury claim.


                                 Supporting Documents


       All supporting documents are available through a Sharefile link. Supporting
documents include:


           • Contracts
           • Newcomb Maintenance Records
           • Mold Spare Trap and Bulk Testing Eesults
           • Curriculum Vitae for Experts and Invoice for Bob Herrick
           • Remediation Costs
           • Incidental Costs
           • Medical Records (To Be Updated)
           • Medical Bills (To Be Updated)
           • Medical and Remediation Chronologies




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       We believe this to be all the relevant non-privileged documentation possessed by our
office. Should you be in need of information not provided herein, please let us know. We
will work with you to obtain such information as best we can.


                                         Conclusion


       We look forward to receiving an offer from each of your clients to resolve this matter.
To the extent that the parties are unable to informally resolve the claims of Marcus and
Alisa, we would recommend pre-suit or early mediation to determine whether a resolution
can be reached before all parties incur substantial time and expense in litigation.


                                                          Thank you,


                                                          E.D. Gaskins, Jr.


                                                          Katie King




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